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KLVRIILFLDOGXWLHVDQGZHUHWDNHQWRDGYDQFHKLVFRQWLQXHGHIIRUWVWRFDPSDLJQDQGVHFXUH

UHHOHFWLRQWRWKHSUHVLGHQF\QRWZLWKVWDQGLQJDFWLRQVWDNHQE\WKHVWDWHVDQGPHPEHUVRIWKH

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GHWDLOEHORZ'HIHQGDQW*LXOLDQLDFWHGLQFRQFHUWZLWKRWKHU'HIHQGDQWVZLWKWKHLQWHQWLRQDQG

XQGHUWDNLQJVWHSVWRSUHYHQWWKH3ODLQWLIIVDQGRWKHUPHPEHUVRI&RQJUHVVIURPGLVFKDUJLQJWKHLU

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DQGGXULQJWKHDVVDXOWRQWKH&DSLWRORQ-DQXDU\DVGHVFULEHGLQWKHDOOHJDWLRQVEHORZ

:DUER\V//&RSHUDWHGLQFRQMXQFWLRQZLWK3URXG%R\V,QWHUQDWLRQDO//&DQGWKURXJKLWV

OHDGHUVKLSZDVLQYROYHGLQSODQQLQJSURPRWLQJDQGFDUU\LQJRXWWKHLQVXUUHFWLRQDWWKH&DSLWRO

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WKHUHJLVWHUHGDJHQWRI'HIHQGDQW:DUER\V//&DQGKDVEHHQNQRZQWRZHDUSDUDSKHUQDOLDRI

ERWK3URXG%R\VDQG:DUER\VDWUDOOLHVDQGRWKHUSXEOLFJDWKHULQJVRI3URXG%R\VPHPEHUV

'HIHQGDQW7DUULRIUHTXHQWO\UHVSRQGVWRUHTXHVWVIRUFRPPHQWWRPHGLDRUJDQL]DWLRQVRQEHKDOI

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PHPEHUV'HIHQGDQW7DUULRZDVGLUHFWO\UHVSRQVLEOHIRUSODQQLQJDQGSURPRWLQJWKH-DQXDU\

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SRVVLEO\RWKHUHQWLWLHVWKDWKDYHEHHQXVHGWRIXQGDQGRSHUDWHWKH3URXG%R\VRUJDQL]DWLRQ

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:HVWHUQIUDWHUQDORUJDQL]DWLRQIRUPHQZKRUHIXVHWRDSRORJL]HIRUFUHDWLQJWKHPRGHUQZRUOG

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SUHVLGHQWLDOFDPSDLJQRIWKHQIRUPHU9LFH3UHVLGHQW%LGHQDQGYLHZVWKDWZHUHVWURQJO\

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GHWDLOEHORZ3URXG%R\VZDVLQYROYHGLQRUJDQL]LQJDQGFDUU\LQJRXWWKHLQVXUUHFWLRQDWWKH

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FRUSRUDWLRQLQ1HYDGDZLWKLWVPDLQRIILFHORFDWHGLQ/DV9HJDV1HYDGDZKRVHPHPEHUVDUH

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WKHIHGHUDOJRYHUQPHQWLVWU\LQJWRVWULS$PHULFDQFLWL]HQVRIWKHLUULJKWV7KHRUJDQL]DWLRQ¶V

QDPHLVGHULYHGIURPWKHRDWKWKDWDOOPLOLWDU\DQGSROLFHWDNHWR³GHIHQGWKH&RQVWLWXWLRQDJDLQVW

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       9LROHQW6XSSRUWHUV

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VROLFLWHGWKHVXSSRUWRIDQGHQGRUVHGWKHEHOOLJHUHQWDQGYLROHQWDFWLRQVRIRUJDQL]DWLRQVVXFKDV

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DQGWRVD\WKDWWKH\QHHGWRVWDQGGRZQDQGQRWDGGWRWKHYLROHQFHLQDQXPEHURIWKHVHFLWLHV"´

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&KDLUPDQ7DUULRUHVSRQGHGE\WZHHWLQJ³6WDQGLQJE\VLU´

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SURWHVWHUVZKRXVHGWKUHDWVDQGDWWLPHVYLROHQFHLQWKHSXUVXLWRIWKHLUSROLWLFDODQGVRFLDO

DJHQGDV)RUH[DPSOHDIWHUVWDWHJRYHUQPHQWVEHJDQLPSOHPHQWLQJUHVWULFWLRQVRQDFFHVVWR

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VXSSRUWHUVZKRWKUHDWHQHGWKHXVHRIYLROHQFHLQUHVLVWLQJWKHVHUHVWULFWLRQVDVWKH³7UXPS$UP\´

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HYHQW'HIHQGDQW7UXPSSUDLVHGWKHPREVD\LQJ³7KHVHSDWULRWVGLGQRWKLQJZURQJ´

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       0LVLQIRUPDWLRQ&DPSDLJQ

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PRQWKV,QRWKHUZRUGVQRPDWWHUKRZWKH$PHULFDQSHRSOHYRWHG7UXPSZRXOGFODLPKHZRQ

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WU\LQJWRFRQYLQFHYLROHQWVXSSRUWHUV²DQGWKH$PHULFDQSXEOLF²WKDWWKHDQQRXQFHGYRWHWDOOLHV

ZHUHWKHSURGXFWRIIUDXGDQGWKDW'HIHQGDQW7UXPSLQIDFWZRQWKHHOHFWLRQQRWZLWKVWDQGLQJ

WKDWWKHVHDVVHUWLRQVZHUHUHSHDWHGO\UHMHFWHGE\WKHFRXUWVDQGWKHVWDWHVWRZKLFKWKH\ZHUH

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GHFODUHGWKHYLFWRU'HIHQGDQWV7UXPSDQG*LXOLDQLDQG'HIHQGDQW7UXPS¶VVXSSRUWHUV

HPEDUNHGRQDFDPSDLJQWRFKDOOHQJHDVIUDXGXOHQWWKHYRWHUHVXOWVLQPRUHWKDQODZVXLWV

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FRXUWVLQZKLFKWKHVHVXLWVZHUHILOHG'HIHQGDQWV7UXPSDQG*LXOLDQLWRJHWKHUPDLQWDLQHGWKDW

'HIHQGDQW7UXPSKDGDFWXDOO\SUHYDLOHGLQWKHHOHFWLRQDQGFRQWLQXHGWRDWWDFNWKHLQWHJULW\RI

WKHVWDWHHOHFWLRQRIILFHVDQGRIILFLDOVDQGWKHHOHFWLRQUHVXOWVLQWKRVHVWDWHVWKDWUHSRUWHG

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DOVRDWWDFNHGWKHLQWHJULW\DQGFDSDELOLW\RIFRXUWVDQGMXGJHVWKDWUXOHGDJDLQVWWKHLUPHULWOHVV

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YLHZVWKURXJKYDULRXVVRFLDOPHGLDRXWOHWVLQFOXGLQJ7ZLWWHURQZKLFKKHKDGPLOOLRQ

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HOHFWLRQZDVIUDXGXOHQWLQFOXGLQJXQVXSSRUWHGFODLPVWKDWWKHHOHFWLRQZDVSDUWRIDPDVVLYH

FRQVSLUDF\E\³ELJFLW\«FURRNV´LQPXOWLSOHVWDWHVWR³VWHDOYRWHV´IURP'HIHQGDQW7UXPS¶V

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VLJQLILFDQWFDVH´$VDUHVXOW'HIHQGDQW*LXOLDQLDGYRFDWHGUHMHFWLQJLQWKHLUHQWLUHW\WKHYRWHV

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RIVXFKIUDXGZDVHYHUSURGXFHGRUIRXQGE\DQ\FRXUWRUVWDWHDJHQF\

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WRIUDXGLQYRWLQJLQ0LOZDXNHHDQG0DGLVRQ:LVFRQVLQERWKRIZKLFKKDYHODUJH$IULFDQ

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$UL]RQD*HRUJLD0LFKLJDQ1HYDGD3HQQV\OYDQLD:LVFRQVLQDQGRWKHUVWDWHVDQGDWWHPSWHGWR

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QRWZLWKVWDQGLQJWKDWVWDWHHOHFWLRQRIILFLDOVIRXQGQRHYLGHQFHRIIUDXGDQGHYHQKLVRZQ

$WWRUQH\*HQHUDODFNQRZOHGJHGWKDWWKH86'HSDUWPHQWRI-XVWLFHKDGXQFRYHUHGQRHYLGHQFH

RIZLGHVSUHDGYRWHUIUDXGWKDWFRXOGKDYHFKDQJHGWKHRXWFRPHRIWKHHOHFWLRQ

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           $OWKRXJKVWDWHRIILFLDOVUHEXWWHGWKHDOOHJDWLRQVRIIUDXGDQGXUJHGFDOPHU

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FRQWLQXHGWRHQJDJHLQSHUVRQDODFFXVDWRU\DQGDWWLPHVYLROHQWDWWDFNV

           )RUH[DPSOH'HIHQGDQWV7UXPSDQG*LXOLDQLDWWHPSWHGWRDSSO\SUHVVXUHRQVWDWH

RIILFLDOVLQRUGHUWRRYHUWXUQWKHHOHFWLRQRI3UHVLGHQW%LGHQ:KHQWKLVHIIRUWIDLOHGLQ*HRUJLD

'HIHQGDQW7UXPSSXEOLFO\VWDWHGWKDWWKH*HRUJLD6HFUHWDU\RI6WDWHZDVDQ³HQHP\RIWKH

SHRSOH´IRULQVLVWLQJWKDW*HRUJLD¶VHOHFWLRQZDVQRWWDLQWHGE\IUDXG,QUHVSRQVHWRWKHVH

1RYHPEHUUHPDUNV'HIHQGDQW7UXPS¶VIROORZHUVWKUHDWHQHGYLROHQFHDQGDVVDVVLQDWLRQ

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HOHFWLRQRIILFLDOZKRUHIXVHGWRVD\WKDWWKHHOHFWLRQZDVQRWVHFXUHVKRXOGEH³WDNHQRXWDW

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*DEULHO6WHUOLQJZDUQHG'HIHQGDQW7UXPSDERXWWKHIRUHVHHDEOHFRQVHTXHQFHVRIWKHVHUHPDUNV

³0U3UHVLGHQW\RXKDYHQRWFRQGHPQHGWKHVHDFWLRQV«7KLVKDVWRVWRS«6WRSLQVSLULQJ

SHRSOHWRFRPPLWSRWHQWLDODFWVRIYLROHQFH6RPHRQHLVJRLQJWRJHWVKRWVRPHRQHLVJRLQJWR

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³3HRSOHDUHXSVHWDQGWKH\KDYHDULJKWWREH*HRUJLDQRWRQO\VXSSRUWHG7UXPSLQEXW

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DVVWROHQDQGHQFRXUDJHGVXSSRUWHUVWRWDNHGHVSHUDWHPHDVXUHVLQFOXGLQJWKHXVHRIIRUFH

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KHLVFRPPDQGHULQFKLHIZH¶UHJRLQJWRKDYHWRGRLWRXUVHOYHVODWHULQDPXFKPRUHGHVSHUDWH

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FRXQWWZHHWLQJ³6WDWLVWLFDOO\LPSRVVLEOHWRKDYHORVWWKH(OHFWLRQ´DQG³%LJSURWHVWLQ'&

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SUR7UXPSRQOLQHIRUXPWKDWEHFDPHDNH\SODQQLQJSODWIRUPIRUWKHLQVXUUHFWLRQ²SRVWHGDOLQN

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PHVVDJHIRUXVWREHSUHSDUHG«DVLQDUPHG´2Q'HFHPEHUWKHVDPHXVHUSRVWHGRQ

ZZZ7KH'RQDOGZLQ³VXUURXQGWKHHQHP\´WRJHWKHUZLWKDPDSRIWKH86&DSLWROWKDWKDGDUHG

SHULPHWHUGUDZQDURXQGLWZLWKWKHLQVWUXFWLRQ³FUHDWHSHULPHWHU´WKHPDSDOVRSURYLGHGWKH

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³7KHREMHFWLYHLV&RQJUHVV´DQGSHRSOHLQWKH&DSLWROVKRXOG³OHDYHLQRQHRIWZRZD\VGHDGRU

FHUWLI\LQJ7UXPSWKHULJKWIXOZLQQHU´6RPHSRVWVHYHQVXJJHVWHGWKDW'HIHQGDQW7UXPSZRXOG

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DERXWKRZPHPEHUVRIWKHWZRRUJDQL]DWLRQVZRXOGZRUNWRJHWKHUGXULQJWKHLQVXUUHFWLRQRQ

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.HHSHUVKDG³orchestrated a plan with the Proud Boys´ HPSKDVLVDGGHG 

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HTXLSPHQWLQFOXGLQJWDFWLFDOYHVWVPLOLWDU\VW\OHFRPPXQLFDWLRQHTXLSPHQWDQGEHDUPDFHIRU

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MRLQWIXQGUDLVLQJFRPPLWWHHVPDGHGLUHFWSD\PHQWVRIDWOHDVWPLOOLRQWRRUJDQL]HUVRIWKH

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IXQGLQJDQGPHVVDJLQJIRUWKH-DQXDU\UDOO\

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-DQXDU\KHEHFDPHPRUHDFWLYHO\LQYROYHGLQGHFLVLRQVFRQFHUQLQJWKHHYHQWLQFOXGLQJWKH

VSHDNLQJOLQHXSDQGHYHQWKHPXVLFWKDWZRXOGEHSOD\HG'HIHQGDQW7UXPSDQGKLVFDPSDLJQ

SURSRVHGWKDWWKHUDOO\LQFOXGHDPDUFKWRWKH&DSLWRO$QRUJDQL]HURIWKH6DYH$PHULFDUDOO\

ODWHUWROGUHSRUWHUVKHZDVVXUSULVHGWROHDUQWKDWWKHHYHQWZRXOGLQYROYHDPDUFKIURPWKH

(OOLSVHWRWKH&DSLWRO%HIRUHWKH:KLWH+RXVHEHFDPHLQYROYHGKHVDLGWKHSODQKDGEHHQWR

VWD\DWWKH(OOLSVHXQWLOWKHFRXQWLQJRIWKH(OHFWRUDO&ROOHJHYRWHVZDVFRPSOHWHG

           7KH:KLWH+RXVHZDVDOVRLQFRQWDFWZLWKWKH3URXG%R\V$Q)%,UHYLHZRI

SKRQHUHFRUGVVKRZHGWKDWLQWKHGD\VOHDGLQJXSWRWKHUDOO\DSHUVRQDVVRFLDWHGZLWKWKH

7UXPS:KLWH+RXVHFRPPXQLFDWHGZLWKDPHPEHURIWKH3URXG%R\VE\SKRQH

           $WWKHVDPHWLPH'HIHQGDQW7UXPSZDVLQFRQWDFWZLWKORQJWLPHDVVRFLDWH

5RJHU6WRQHZKRZDVLQFRQWDFWZLWKERWKWKH3URXG%R\VDQGWKH2DWK.HHSHUV0U6WRQH

SRVWHGRQWKHVRFLDOPHGLDZHEVLWH3DUOHUWKDWDWWKHHQGRI'HFHPEHUKHPHWZLWK'HIHQGDQW

7UXPSWR³HQVXUHWKDW'RQDOG7UXPSFRQWLQXHVDVRXUSUHVLGHQW´3URXG%R\VOHDGHU(QULTXH

7DUULRFRQILUPHGWKDWKHFDOOHG5RJHU6WRQHLQHDUO\-DQXDU\0HPEHUVRIWKH2DWK.HHSHUV

DJUHHGWRVHUYHDV0U6WRQH¶VVHFXULW\GHWDLOGXULQJWKH-DQXDU\SURWHVWV



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9     %\-DQXDU\'HIHQGDQWV:HUH3RLVHGIRUWKH9LROHQW,QVXUUHFWLRQ
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           %\-DQXDU\PHPEHUVRIWKH3URXG%R\VDQGWKH2DWK.HHSHUV²DPRQJ

RWKHUSUR7UXPSGHPRQVWUDWRUV²KDGIORFNHGWR:DVKLQJWRQ'&$VD-DQXDU\Washington

PostDUWLFOHREVHUYHG'&ZDV³EUDFLQJIRUSRWHQWLDOO\YLROHQWSURWHVWVHJJHGRQE\3UHVLGHQW

7UXPSKLPVHOI´

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DVVHPEOHGLQ)UHHGRP3OD]DLQ:DVKLQJWRQ'&LQDFKDQWRI³9LFWRU\RUGHDWK´

           3URXG%R\VOHDGHU-RVHSK%LJJVVHQWLQVWUXFWLRQVWRPHPEHUVXVLQJWKHVHFXUH

³%RRWVRQWKH*URXQG´FKDQQHOWHOOLQJWKHPWR³DYRLGJHWWLQJLQWRDQ\VKLW´RQWKHHYHRIWKH

HYHQWEHFDXVH³>W@RPRUURZ¶VWKHGD\´%LJJVWKHQVDLG³-XVWWU\LQJWRJHWRXUQXPEHUV6RZH

FDQSODQDFFRUGLQJO\IRUWRQLJKWDQGWRPRUURZ¶VSODQ´/DWHUKHDVVXUHGWKHJURXS³:HKDYHD

SODQ´

9,    7KH0RUQLQJRI-DQXDU\'HIHQGDQWV$WWHPSWHGWR([HFXWHD0XOWL)DFHWHG
        &DPSDLJQWR3UHYHQW&RQJUHVVIURP&HUWLI\LQJWKH(OHFWLRQ5HVXOWV

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(OHFWRUDO&ROOHJHYRWHFRXQWZDVVFKHGXOHGWRRFFXU'HIHQGDQW7UXPSVHQWDPHVVDJHE\

7ZLWWHUWR9LFH3UHVLGHQW3HQFHXUJLQJKLPWRSUHYHQWWKHFRXQWRIVWDWHFHUWLILHG(OHFWRUDO

&ROOHJHEDOORWVUHTXLUHGE\$UWLFOH,,6HFWLRQDQGWKH7ZHOIWK$PHQGPHQWWRWKH8QLWHG6WDWHV

&RQVWLWXWLRQLQWKHKRSHWKDW'HIHQGDQW7UXPSFRXOGDFKLHYHDGLIIHUHQWRXWFRPHRIWKH

HOHFWLRQ6WLOODFWLQJLQKLVSHUVRQDOFDSDFLW\DVDFDQGLGDWH'HIHQGDQW7UXPSVWDWHG³$OO0LNH

3HQFHKDVWRGRLVVHQG>WKHHOHFWLRQ@EDFNWRWKH6WDWHV$1':(:,1´

           7KH(OHFWRUDO&RXQW$FWRIUHTXLUHVWKDW&RQJUHVVFRQYHQHRQ-DQXDU\DW

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(OHFWRUDO&ROOHJHFDQEHFRXQWHGDVUHTXLUHGE\$UWLFOH,,6HFWLRQDQGWKH7ZHOIWK


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$PHQGPHQW7KH7ZHOIWK$PHQGPHQWH[SUHVVO\SURYLGHV³7KH3UHVLGHQWRIWKH6HQDWHVKDOOLQ

WKHSUHVHQFHRIWKH6HQDWHDQG+RXVHRI5HSUHVHQWDWLYHVRSHQDOOWKHFHUWLILFDWHVDQGWKHYRWHV

shall then be counted7KHSHUVRQKDYLQJWKHJUHDWHVW1XPEHURIYRWHVIRU3UHVLGHQWshall be the

President´ HPSKDVLVDGGHG ,WLVEH\RQGGLVSXWHWKDWRQ-DQXDU\-RVHSK%LGHQKDGWKH

JUHDWHVWQXPEHURI(OHFWRUDO&ROOHJHYRWHVIRU3UHVLGHQW7KH9LFH3UHVLGHQWDFWLQJDV3UHVLGHQW

RIWKH6HQDWHLVUHTXLUHGWRIRUPDOO\GHFODUHWKHYLFWRULQWKHHOHFWLRQEDVHGRQDQDFFXUDWHFRXQW

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              'HIHQGDQW7UXPS¶VGHPDQGRI9LFH3UHVLGHQW3HQFHDVWKH3UHVLGHQWRIWKH

6HQDWHWKDWKHGHFOLQHWRFRXQWWKH(OHFWRUDO&ROOHJHEDOORWVDQGLQVWHDGRIGHFODULQJWKHZLQQHU

RIWKHHOHFWLRQVHQGWKHHOHFWLRQEDFNWRWKHVWDWHVZDVLQGLUHFWFRQWUDYHQWLRQRIWKHOHJDO

UHTXLUHPHQWVWKDWWKH&RQVWLWXWLRQDQGWKH(OHFWRUDO&RXQW$FWRILPSRVHGRQWKH9LFH

3UHVLGHQW

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GHFODUDWLRQRI-RVHSK%LGHQDVWKHZLQQHURIWKHHOHFWLRQFRXOGQRWEHVWRSSHGE\DQ\ODZIXO

PHDQV9LFH3UHVLGHQW3HQFHKDGZULWWHQ'HIHQGDQW7UXPSDOHWWHUVWDWLQJLQUHOHYDQWSDUW³,WLV

P\FRQVLGHUHGMXGJPHQWWKDWP\RDWKWRVXSSRUWDQGGHIHQGWKH&RQVWLWXWLRQFRQVWUDLQVPHIURP

FODLPLQJXQLODWHUDODXWKRULW\WRGHWHUPLQHZKLFKHOHFWRUDOYRWHVVKRXOGEHFRXQWHGDQGZKLFK

VKRXOGQRW´

              +DYLQJORVWDOOOHJDODYHQXHVRIFKDOOHQJLQJWKHHOHFWLRQ'HIHQGDQWV7UXPSDQG

*LXOLDQLUHVRUWHGWRWKHRQO\PHDQVWKH\UHJDUGHGDVDYDLODEOHWRUHHOHFW'HIHQGDQW7UXPS

ZKLFKZHUHWRHPSOR\IRUFHWKUHDWVDQGLQWLPLGDWLRQGLUHFWHGWRZDUGVPHPEHUVRI&RQJUHVVWR

GHOD\DQGSUHYHQWWKHILQDODSSURYDORIWKHUHVXOWVRIWKH(OHFWRUDO&ROOHJHEDOORWLQJ




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7UXPSXUJHGKLVIROORZHUVWRUHVLVWWKHILQDOFRXQWRIWKH(OHFWRUDO&ROOHJHEDOORWVPLVLQIRUPLQJ

WKHPLQDWZHHWWKDW³7KH6WDWHVZDQWWRUHGRWKHLUYRWHV7KH\IRXQGRXWWKH\YRWHGRQD

)5$8'/HJLVODWXUHVQHYHUDSSURYHG/HWWKHPGRLW%(67521*´1RVWDWHHYHUH[SUHVVHG

WKHYLHZDWWULEXWHGWRWKHPE\'HIHQGDQW7UXPSWKDWWKH\ZDQWHGWR³UHGRWKHLUYRWHV´

)XUWKHUPRUHLQWKHKLVWRU\RIWKLVQDWLRQWKHUHKDVQHYHUEHHQDQ\VXFK³UHGR´QRUKDVDQ\FRXUW

HYHUUXOHGWKDWDK\SRWKHWLFDO³UHGR´ZRXOGEHODZIXO

            $WWKHUDOO\'HIHQGDQW*LXOLDQLVSRNHLPPHGLDWHO\EHIRUH'HIHQGDQW7UXPS,Q

UHPDUNVPLUURULQJ'HIHQGDQW7UXPS¶VSULRUPHVVDJHV'HIHQGDQW*LXOLDQLEHJDQE\PDNLQJD

VHULHVRIVWDWHPHQWVDERXWWKHHOHFWLRQFRQWUDGLFWHGE\WKHVWDWHHOHFWLRQRIILFHUVFDOOLQJWKHYRWHV

ODZIXOO\FDVWLQIDYRURI3UHVLGHQW%LGHQ³FURRNHGEDOORWV´DQGVWDWLQJWKDWKHZDV³JRLQJWRILQG

FULPLQDOLW\´DQG³SURRIWKLVHOHFWLRQZDVVWROHQ´'HIHQGDQW*LXOLDQLIDOVHO\WROGWKHFURZGWKDW

LWZDV³SHUIHFWO\OHJDO´IRU9LFH3UHVLGHQW3HQFHWRXQLODWHUDOO\EORFN&RQJUHVVIURPFHUWLI\LQJ

WKH(OHFWRUDO&ROOHJHYRWHVDV'HIHQGDQW7UXPSKDGSUHYLRXVO\GHPDQGHGDQGUHIHUUHGWRD

IDLOXUHE\9LFH3UHVLGHQW3HQFHWREORFNWKHFHUWLILFDWLRQDVXQODZIXORUWUHDVRQRXV7KHQKH

LQFLWHGWKHFURZGWRWDNHYLROHQWDFWLRQVWDWLQJ³,IZH¶UHULJKWDORWRIWKHPZLOOJRWRMDLOSo,

let’s have trial by combat,¶PZLOOLQJWRVWDNHP\UHSXWDWLRQWKH3UHVLGHQWLVZLOOLQJWRVWDNH

KLVUHSXWDWLRQRQWKHIDFWWKDWZH¶UHJRLQJWRILQGFULPLQDOLW\WKHUH«,¶OOEHGDUQHGLIWKH\¶UH

JRLQJWRWDNHRXUIUHHDQGIDLUYRWH«We’re going to fight to the very endWRPDNHVXUHWKDW

GRHVQ¶WKDSSHQ´ HPSKDVLVDGGHG 

            7KHQ'HIHQGDQW7UXPSDGGUHVVHGWKHDVVHPEOHGFURZG'HIHQGDQW7UXPS

EHJDQE\FRQGHPQLQJKLVSROLWLFDORSSRVLWLRQDQGUHSHDWLQJWKHVDPHXQSURYHQDFFXVDWLRQ

UHMHFWHGE\WKHVWDWHHOHFWLRQRIILFHUVWKDWWKHHOHFWLRQZDVVWROHQIURPKLP³7KH\ULJJHGDQ



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HOHFWLRQ7KH\ULJJHGLWOLNHWKH\¶YHQHYHUULJJHGDQHOHFWLRQEHIRUH«+XQGUHGVRIWKRXVDQGV

RI$PHULFDQSDWULRWVDUHFRPPLWWHGWRWKHKRQHVW\RIRXUHOHFWLRQVDQGWKHLQWHJULW\RIRXU

JORULRXV5HSXEOLF$OORIXVKHUHWRGD\GRQRWZDQWWRVHHRXUHOHFWLRQYLFWRU\VWROHQE\

HPEROGHQHGUDGLFDOOHIW'HPRFUDWVZKLFKLVZKDWWKH\¶UHGRLQJDQGVWROHQE\WKHIDNHQHZV

PHGLD7KDW¶VZKDWWKH\¶YHGRQHDQGZKDWWKH\¶UHGRLQJ:HZLOOQHYHUJLYHXS:HZLOOQHYHU

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KDGFUHGLWHG'HIHQGDQW7UXPS¶VDVVHUWLRQWKDWKLVRSSRUWXQLW\WRZLQWKHSUHVLGHQWLDOHOHFWLRQ

ZDV³VWROHQ´IURPKLP

           'HIHQGDQW7UXPSWKHQVWDWHG³2XUFRXQWU\KDVKDGHQRXJK:HZLOOQRWWDNHLW

DQ\PRUHDQGWKDW¶VZKDWWKLVLVDOODERXW7RXVHDIDYRULWHWHUPWKDWDOORI\RXSHRSOHUHDOO\

FDPHXSZLWKZHZLOOVWRSWKHVWHDO´$VKHKDGGRQHUHSHDWHGO\VLQFHWKHHOHFWLRQ

'HIHQGDQW7UXPSPHDQWKHZRXOGVWRSFHUWLILFDWLRQRI-RVHSK%LGHQDV3UHVLGHQWDVZDV

VFKHGXOHGWRWDNHSODFHODWHUWKDWGD\DWWKH&DSLWRO

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³:HPXVWVWRSWKHVWHDODQGWKHQZHPXVWHQVXUHWKDWVXFKRXWUDJHRXVHOHFWLRQIUDXGQHYHU

KDSSHQVDJDLQFDQQHYHUEHDOORZHGWRKDSSHQDJDLQEXWZH¶UHJRLQJIRUZDUG´

           7KHQNQRZLQJWKDWWKHFURZGZDVDUPHGDQGWKDWWKHDVVHPEOHGPDVVHVKDG

WKUHDWHQHGYLROHQFH'HIHQGDQW7UXPSVWRNHGWKHLUDQJHUIXUWKHUDQGXUJHGWKHPWRWDNHDFWLRQWR

GLVUXSWWKHSURFHVVIRUFRXQWLQJDQGDSSURYLQJWKH(OHFWRUDO&ROOHJHEDOORWV³5HSXEOLFDQVDUH

FRQVWDQWO\ILJKWLQJOLNHDER[HUZLWKKLVKDQGVWLHGEHKLQGKLVEDFN,W¶VOLNHDER[HUDQGZH

ZDQWWREHVRQLFH:HZDQWWREHVRUHVSHFWIXORIHYHU\ERG\LQFOXGLQJEDGSHRSOH:H¶UH

JRLQJWRKDYHWRILJKWPXFKKDUGHUDQG0LNH3HQFHLVJRLQJWRKDYHWRFRPHWKURXJKIRUXV,I

KHGRHVQ¶WWKDWZLOOEHDVDGGD\IRURXUFRXQWU\EHFDXVH\RX¶UHVZRUQWRXSKROGRXU



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FRQVWLWXWLRQ1RZLWLVXSWR&RQJUHVVWRFRQIURQWWKLVHJUHJLRXVDVVDXOWRQRXUGHPRFUDF\

$IWHUWKLVZH¶UHJRLQJWRZDONGRZQDQG,¶OOEHWKHUHZLWK\RX:H¶UHJRLQJWRZDONGRZQ

:H¶UHJRLQJWRZDONGRZQDQ\RQH\RXZDQWEXW,WKLQNULJKWKHUHWe’re going walk down to

the CapitolDQGZH¶UHJRLQJWRFKHHURQRXUEUDYH6HQDWRUVDQG&RQJUHVVPHQDQGZRPHQ

:H¶UHSUREDEO\QRWJRLQJWREHFKHHULQJVRPXFKIRUVRPHRIWKHPEHFDXVHyou’ll never take

back our country with weakness. You have to show strength, and you have to be strong´

    HPSKDVLVDGGHG 

             $VVKRZQDERYHLQDGLUHFWHIIRUWWRLQFUHDVHWKHQXPEHURIKLVIROORZHUVZKR

ZRXOGMRXUQH\WRWKH&DSLWRO'HIHQGDQW7UXPSIDOVHO\WROGWKHP³,¶OOEHWKHUHZLWK\RX´

1RWZLWKVWDQGLQJWKLVVWDWHPHQW'HIHQGDQW7UXPSQHYHUWUDYHOHGWRWKH&DSLWRORQ-DQXDU\

WRMRLQWKHULRWHUVZKRPKHGLVSDWFKHG

             'HIHQGDQW7UXPSWKHQWROGWKHFURZGWKDWLWFRXOGQRWDOORZ%LGHQWREHGHHPHG

WKHZLQQHURIWKHHOHFWLRQ³0LNH3HQFHKDVWRDJUHHWRVHQG>WKHHOHFWRUDOFRXQW@EDFN>WRWKH

VWDWHV@,I\RXGRQ¶WGRWKDWWKDWPHDQV\RXZLOOKDYHD3UHVLGHQWRIWKH8QLWHG6WDWHVIRUIRXU

\HDUVZKRZDVYRWHGRQE\DEXQFKRIVWXSLGSHRSOHZKRORVWDOORIWKHVHVWDWHV<RXZLOO

KDYHDQLOOHJLWLPDWHSUHVLGHQW7KDWLVZKDW\RXZLOOKDYHand we can’t let that happen´

    HPSKDVLVDGGHG 

             6KRZLQJVWUHQJWKWKHFURZGEHJDQVKRXWLQJDQGFKDQWLQJ³6WRUPWKH&DSLWRO´

³,QYDGHWKH&DSLWRO%XLOGLQJ´DQG³7DNHWKH&DSLWROULJKWQRZ´$SSURYLQJRIWKRVHFKDQWV

'HIHQGDQW7UXPSSUHVVHGRQ³7KHUDGLFDOOHIWNQRZVH[DFWO\ZKDWWKH\¶UHGRLQJ7KH\¶UH

UXWKOHVVDQGLW¶VWLPHWKDWVRPHERG\GLGVRPHWKLQJDERXWLW´$VWKHFURZGVKRXWHGDQGEXVWOHG

KHJDYHWKHPSHUPLVVLRQWREUHDNWKHUXOHVDVVXULQJWKHP³when you catch somebody in a

fraud, you’re allowed to go by very different rules6RPHWKLQJLVZURQJKHUHVRPHWKLQJLV



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UHDOO\ZURQJFDQ¶WKDYHKDSSHQHGDQGZHILJKWZHILJKWOLNHKHOODQGLI\RXGRQ¶WILJKWOLNH

KHOO\RX¶UHQRWJRLQJWRKDYHDFRXQWU\DQ\PRUH´ HPSKDVLVDGGHG 7KHFURZGDQVZHUHGLQD

FKDQW³)LJKWOLNH+HOO)LJKWIRU7UXPS´

           'HIHQGDQW7UXPSGLUHFWHGKLVVFUHDPLQJVXSSRUWHUVWRGHVFHQGXSRQWKH&DSLWRO

³6RZHDUHJRLQJWR«ZDONGRZQ3HQQV\OYDQLD$YHQXH«DQGZHDUHJRLQJWRWKH&DSLWRO

DQGZHDUHJRLQJWRWU\DQGJLYH«RXU5HSXEOLFDQVWKHZHDNRQHVEHFDXVHWKHVWURQJRQHV

GRQ¶WQHHGDQ\RIRXUKHOSZH¶UH«JRLQJWRWU\DQGJLYHWKHPWKHNLQGRISULGHDQGEROGQHVV

WKDWWKH\QHHGWRWDNHEDFNRXUFRXQWU\6ROHW¶VZDONGRZQ3HQQV\OYDQLD$YHQXH´

           7KHSHUPLWREWDLQHGIRUWKH6DYH$PHULFDUDOO\H[SUHVVO\SURYLGHG³7KLVSHUPLW

GRHVQRWDXWKRUL]HDPDUFKIURPWKH(OOLSVH´'HIHQGDQW7UXPSQHYHUWKHOHVVLQVWUXFWHGWKH

DQJU\FURZGWRPDUFKIURPWKH(OOLSVHWRWKH&DSLWROIRUWKHSXUSRVHRI³ILJKW>LQJ@OLNHKHOO´DQG

WKHUHIRUHGLUHFWHGWKHFURZGWRWDNHDFWLRQRXWVLGHWKHERXQGVRIZKDWWKHSHUPLWDXWKRUL]HG

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      &DSLWRO

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VHFXUHGKRXUVDGD\E\86&DSLWRO3ROLFH5HVWULFWLRQVDURXQGWKH86&DSLWROLQFOXGH

SHUPDQHQWDQGWHPSRUDU\VHFXULW\EDUULHUVDQGSRVWVPDQQHGE\86&DSLWRO3ROLFH2QO\

DXWKRUL]HGSHRSOHZLWKDSSURSULDWHLGHQWLILFDWLRQZHUHDOORZHGDFFHVVLQVLGHWKH86&DSLWRO

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RIWKHSXEOLF0HWDOEDUULHUVZHUHSODFHGDORQJSHGHVWULDQHQWUDQFHVDSSUR[LPDWHO\RQHKXQGUHG

IHHWIURPWKHZHVWVLGHHQWUDQFHWRWKH&DSLWRO

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&RQVWLWXWLRQDQGIHGHUDOODZGLFWDWLQJWKHPHDQVE\ZKLFK&RQJUHVVFRXQWVWKHVWDWHV¶(OHFWRUDO

9RWHVLQFOXGLQJWKHGDWHDQGWLPHVXFKFRXQWLQJVKDOORFFXUDMRLQWVHVVLRQRIWKH8QLWHG6DWHV


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&RQJUHVVFRQYHQHGDWWKH8QLWHG6WDWHV&DSLWROWRFHUWLI\WKHYRWHFRXQWRIWKHSUHVLGHQWLDO

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7UXPSZDVVSHDNLQJDWWKH6DYH$PHULFDUDOO\

            (QURXWHWRWKH&DSLWROPHPEHUVRI'HIHQGDQW3URXG%R\VZHUHHQJDJHGLQ

YDULRXVFKDQWVDQGUHVSRQVHFDOOVLQFOXGLQJ³)XFN$QWLID´DQG³:KRVHVWUHHWV"2XUVWUHHWV´

            :KLOHWKH3URXG%R\VZHUHDVVHPEOHGQHDUWKH&DSLWRORQH3URXG%R\VPHPEHU

ZDVYLGHRUHFRUGHGVKRXWLQJ³/HW¶VWDNHWKHIXFNLQJ&DSLWRO´,QUHVSRQVHRWKHU3URXG%R\V

PHPEHUVFKDVWLVHGWKHPHPEHUIRUVKRXWLQJWKLVZLWKDQRWKHU3URXG%R\VPHPEHUVWDWLQJ

³/HW¶VQRWIXFNLQJ\HOOWKDWDOULJKW´DQGDQRWKHUPHPEHUVWDWLQJ³'RQ¶W\HOOLWGRLW´

            $WWKHGLUHFWLRQRIWKH'HIHQGDQW3URXG%R\VUDOO\RUJDQL]HUVPDQ\3URXG%R\V

PHPEHUVDEDQGRQHGWKHLURUJDQL]DWLRQ¶VFRORUVRIEODFNDQG\HOORZLQRUGHUWRZHDUWKHEODFN

DWWLUHDVVRFLDWHGZLWK$QWLID

            3URXG%R\VPHPEHUVDFWLQJDFFRUGLQJWRDFDUHIXOO\FRRUGLQDWHGSODQDQGDWWKH

GLUHFWLRQRIWKHLUOHDGHUVKLSEURNHXSLQWRVPDOOJURXSVVRWKDWWKH\FRXOGSXVKSDVWWKH&DSLWRO

EDUULHUVIURPPXOWLSOHHQWU\SRLQWVZLWKRXWVLJQDOLQJWRSROLFHWKDWWKH\ZHUHZRUNLQJWRJHWKHU

WKHVHVPDOOHUJURXSVFRPPXQLFDWHGZLWKHDFKRWKHUWKURXJKWKHXVHRIPLOLWDU\VW\OH

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            $WDSSUR[LPDWHO\300U%LJJVGLVSDWFKHGWKHOHDGHURIWKHDVVDXOWRQWKH

&DSLWROHQWUDQFH)ROORZLQJKLPPRUHPHPEHUVRI'HIHQGDQW3URXG%R\VGHVFHQGHGRQWKH

&DSLWROEUHDNLQJWKURXJKWKHPHWDOEDUULHUVHUHFWHGDKXQGUHGIHHWIURPWKH&DSLWRO%XLOGLQJDQG

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PHPEHUVEURNHWKURXJKWKHEDUULFDGHVWKH\EODVWHG7UXPS¶VVSHHFKRQDEXOOKRUQ

         6RRQDIWHU3URXG%R\VKDGFOHDUHGWKHEDUULFDGHV'HIHQGDQW7UXPSILQLVKHGKLV

VSHHFKDQGGLVSDWFKHGWKHDQJU\FURZGWRWKH&DSLWRO

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&DSLWRO3ROLFHQHDUWKHEDVHRIWKHEXLOGLQJ

         $VDUHVXOWWKHFURZGWKDWDUULYHGSDVVHGHDVLO\WKURXJKWKHRXWHUULQJRIEDUULHUV

DQGZDVDEOHWRFRQIURQWDQGXOWLPDWHO\RYHUZKHOPDQLQQHUDUUD\RI&DSLWRO3ROLFHDQG

EDUULFDGHVHVWDEOLVKHGDVWKHODVWOLQHRIGHIHQVHRXWVLGHWKH&DSLWRO%XLOGLQJ

         3URXG%R\VPHPEHUVDQGOHDGHUVDFWHGDFFRUGLQJWRDQLQWHQWLRQDODQG

SUHPHGLWDWHGSODQWRUHO\RQQRQ3URXG%R\VULRWHUV ZKRPWKH3URXG%R\VGHVFULEHGDV

³QRUPLHV´RU³QRUPLHFRQV´ WRMRLQIRUFHVZLWKWKH3URXG%R\VLQRYHUWDNLQJ&DSLWRO3ROLFH

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'HIHQGDQWV7UXPSDQG*LXOLDQLFUHDWHGFKDRVDQGPD\KHPVXUURXQGLQJWKH&DSLWROVXFKWKDW

VHFXULW\IRUFHVZHUHVSUHDGWKLQDQGZHDNHQHGWKXVDOORZLQJERWK3URXG%R\VDQGQRQ3URXG

%R\VLQVXUUHFWLRQLVWVWRJDLQHQWU\LQWKHEXLOGLQJ7KHFURZGWKDW'HIHQGDQWV7UXPSDQG

*LXOLDQLLQFLWHGWRPDUFKXSRQDQGIRUFLEO\HQWHUWKH&DSLWROHUHFWHGJDOORZVRQWKH&DSLWRO

JURXQGVDQGGLVSOD\HGDQRRVH

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5HSUHVHQWDWLYHVDQGWKH6HQDWHZHUHHQJDJHGLQGHEDWLQJWKHWDOO\RIWKHYRWHVFDVWE\PHPEHUV

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5DWKHUWKDQWDNHDFWLRQWRDWWHPSWWRFDOPWKHULRWRXVFURZGRUGLUHFWDGGLWLRQDOODZHQIRUFHPHQW

WRWKHVLWH'HIHQGDQW7UXPSHJJHGRQPHPEHUVRIWKHULRWRXVFURZGE\WZHHWLQJDW30D

YLGHRRIWKH³6DYH$PHULFD´UDOO\ILOPHGVKRUWO\EHIRUHZKHUHKHKDGUDOOLHGWKHFURZGZLWKKLV

FODULRQFDOO³2XUFRXQWU\KDVKDGHQRXJK:HZLOOQRWWDNHLWDQ\PRUHDQGWKDW¶VZKDWWKLVLVDOO

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        6KRUWO\DIWHU30WKHULRWRXVFURZGEUHDFKHGWKH&DSLWRO%XLOGLQJ

:LQGRZVDQGEDUULFDGHVZHUHEURNHQDVWKHPREVWRUPHGLQWRWKH1DWLRQDO6WDWXDU\+DOOWKH

KHDUWRIWKH&DSLWRO%XLOGLQJ

        9LGHRUHFRUGHGDPHPEHURI'HIHQGDQW3URXG%R\VDVKHEURNHWKURXJKD&DSLWRO

ZLQGRZDWDSSUR[LPDWHO\30XVLQJWKHFOHDUSODVWLFVKLHOGVHL]HGIURPDQRYHUFRPH

&DSLWRO3ROLFHRIILFHU7KHUHDIWHUPHPEHUVRIWKHFURZGLQFOXGLQJVRPHIURPWKH'HIHQGDQW

3URXG%R\VHQWHUHGWKH&DSLWROWKURXJKWKHEURNHQZLQGRZDQGWKHQRSHQHGDGRRUWKURXJK

ZKLFKWKHULRWRXVFURZGVWUHDPHGLQWRWKH&DSLWRO

        7KHPHPEHURI'HIHQGDQW3URXG%R\VZKREURNHWKURXJKWKHZLQGRZZLWKD

SODVWLFVKLHOGWKHQSRVWHGDVHOIFRQJUDWXODWRU\YLGHRRIKLPVHOIVPRNLQJDFLJDULQFHOHEUDWLRQRI

KLVXQODZIXOHQWU\GHFODULQJ³9LFWRU\VPRNHLQWKH&DSLWROER\V«,NQHZZHFRXOGWDNHWKLV

VKLWRYHULIZHWULHGKDUGHQRXJK´

        2WKHUYLGHROLYHVWUHDPHGWRWKHVRFLDOPHGLDVLWH3DUOHUFDSWXUHG'HIHQGDQW

3URXG%R\VOHDGHU-RVHSK%LJJVZKRKDGHQWHUHGWKH&DSLWROUHVSRQGLQJWRDQLQTXLU\DVNLQJ

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        6KRUWO\DIWHUWKH&DSLWROZDVEUHDFKHGWKH6HQDWHZDVFDOOHGLQWRUHFHVV

        &KDRVDQGYLROHQFHUHLJQHGDVULRWRXVPHPEHUVRIWKHFURZGLQIODPHGE\UHPDUNV

IURP'HIHQGDQWV7UXPSDQG*LXOLDQLVWUHDPHGLQWRWKH&DSLWRORYHUFRPLQJPRVWRIWKH

UHPDLQLQJ&DSLWRO3ROLFHDQGGHVFHQGLQJXSRQ&DSLWRORIILFHVRIPHPEHUVRI&RQJUHVVDQGWKHLU

VWDII5LRWHUVEHDWRQWKHGRRUVRIWKH&KDPEHURIWKH+RXVHRI5HSUHVHQWDWLYHVZKHUH

'HIHQGDQW7KRPSVRQDQGRWKHUPHPEHUVRIWKH+RXVHZHUHIRUFHGWRVKHOWHULQSODFH

        (PSOR\LQJHDUSLHFHVDQGZDONLHWDONLHVLQRUGHUWRFRPPXQLFDWHZLWKHDFKRWKHU

DQGFRRUGLQDWHWKHLUDWWDFNRQWKH&DSLWROPHPEHUVRI'HIHQGDQW3URXG%R\VLQVLGHWKH&DSLWRO

%XLOGLQJFRQWLQXHGWROHDGDQGFRRUGLQDWHIDFHWVRIWKHDWWDFNRQWKH&DSLWROLQRUGHUWRLQWHUIHUH

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VXUURXQGHGE\ULRWRXVVXSSRUWHUVZKRFKDQWHG³2XUKRXVH´DQGZHUHDFFRPSDQLHGE\DQRWKHU

PHPEHURI'HIHQGDQW3URXG%R\VZKRFDOOHGIRU³1DQF\´WRVXPPRQWKH6SHDNHURIWKH+RXVH

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ZKRVHLQYDVLRQRIWKH&DSLWROZDVLQFLWHGE\'HIHQGDQWV7UXPSDQG*LXOLDQLURDPHGWKH

&DSLWROHQWHULQJDQGULIOLQJWKURXJKPHPEHURIILFHVLQFOXGLQJWKHRIILFHRI+RXVH6SHDNHU

1DQF\3HORVLOHDYLQJIXUQLWXUHDQGILOHVLQGLVDUUD\DQGUHPRYLQJSHUVRQDODQGRIILFLDOHIIHFWV

LQFOXGLQJODSWRSVFRQWDLQLQJFRQILGHQWLDOLQIRUPDWLRQ$VWKH\URDPHGWKH&DSLWRO%XLOGLQJ

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VHDUFKHGIRUPHPEHUVRI&RQJUHVVLQWKHKDOOVDQGURRPVRIWKH&DSLWRO6HYHUDOULRWHUV

FDUULHGSODVWLFKDQGFXIIVWKDWZRXOGKDYHSHUPLWWHGWKHPWRGHWDLQPHPEHUVRI&RQJUHVVZKRP

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         1RWZLWKVWDQGLQJWKDW5HSXEOLFDQPHPEHUVRI&RQJUHVVWUDSSHGLQWKH&DSLWRO

WUDQVPLWWHGDSSHDOVWRWKH:KLWH+RXVHWRWDNHLPPHGLDWHDFWLRQWRVWRSWKHLQVXUUHFWLRQQR

DFWLRQZDVIRUWKFRPLQJDV'HIHQGDQW7UXPSFRQWLQXHGWRZDWFKWKHLQVXUUHFWLRQXQIROGLQOLYH

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         6RRQDIWHUPHPEHUVRIWKHULRWRXVFURZGGLVSDWFKHGE\'HIHQGDQWV7UXPSDQG

*LXOLDQLIRUFLEO\HQWHUHGWKH&DSLWRODQGEHJDQURDPLQJLWVKDOOVDQGRIILFHV'HIHQGDQW7UXPS

WKURXJKKLVSHUVRQDO7ZLWWHUDFFRXQWFDOOHGXSRQWKHPWRGLVUXSWWKH(OHFWRUDO&ROOHJHEDOORW

FRXQWWZHHWLQJWKDW³0LNH3HQFHGLGQ¶WKDYHWKHFRXUDJHWRGRZKDWVKRXOGKDYHEHHQGRQH«´

         7KLVWZHHWZDVUHSHDWHGE\ULRWHUVDWWKH&DSLWRORQPHJDSKRQHVZKRXQGHUVWRRG

7UXPS¶VWZHHWWREHHQFRXUDJHPHQWWRIXUWKHUYLROHQFH

         :KHQWKH&DSLWROZDVEUHDFKHGVKRUWO\DIWHU30WKHQ9LFH3UHVLGHQW3HQFH

ZDVSUHVHQWDWWKH&DSLWROLQKLVFDSDFLW\DV3UHVLGHQWRIWKH6HQDWHLQRUGHUWRSUHVLGHRYHUWKH

WDOO\RIWKH(OHFWRUDO&ROOHJHEDOORWV

         +DYLQJGHFOLQHGWRVXVSHQGWKH(OHFWRUDO&ROOHJHYRWHWDOO\DV'HIHQGDQW7UXPS

XUJHGKLPWRGRWKHQ9LFH3UHVLGHQW3HQFHKLPVHOIEHFDPHDWDUJHWRIWKHFURZG¶VWKUHDWVDQG

LQWLPLGDWLRQDORQJZLWKPHPEHUVRI&RQJUHVVDVULRWHUVFKDQWHG³+DQJ0LNH3HQFH´

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DFWLQJXSRQWKHGLUHFWLRQDQGDWWKHEHKHVWRI'HIHQGDQW7UXPS:KHQWKHFURZGFRQIURQWHG

&DSLWRO3ROLFHLQVLGHWKH&DSLWROWKH\ZDUQHGWKH&DSLWRO3ROLFHRIILFHUV³<RX¶UHRXWQXPEHUHG



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$SSDUHQWO\EHOLHYLQJWKDW'HIHQGDQW7UXPS¶VLQFLWHIXOUHPDUNVDXWKRUL]HGDQGGLUHFWHGWKHPWR

HQWHUDQGRYHUWDNHWKH&DSLWROOHDGHUVRIWKHULRWRXVFURZGDOVRWROG&DSLWRO3ROLFH³:HZHUH

LQYLWHGKHUHE\WKH3UHVLGHQWRIWKH8QLWHG6WDWHV´5LRWHUVSDUDGLQJWKURXJKWKHKDOOVRIWKH

&DSLWROFDUULHGIODJVDQGZRUHFORWKLQJDQGRWKHUSDUDSKHUQDOLDEHDULQJWKHQDPHRIWKHLUOHDGHU

³7UXPS´

        $IWHUWKHULRWHUVEUHDFKHGWKH&DSLWRO+RXVH0LQRULW\/HDGHU.HYLQ0F&DUWK\

SOHDGHGZLWK'HIHQGDQW7UXPSWRFDOORIIWKHULRWHUVHPSKDVL]LQJWKDWWKHULRWHUVZHUHDOO7UXPS

VXSSRUWHUV'LVPLVVLYHRI/HDGHU0F&DUWK\ VZDUQLQJ'HIHQGDQW7UXPSWROG0F&DUWK\³:HOO

.HYLQ,JXHVVWKHVHSHRSOHDUHPRUHXSVHWDERXWWKHHOHFWLRQWKDQ\RXDUH´

        $V+RXVH5HSXEOLFDQ&RQIHUHQFH&KDLUWKH+RQRUDEOH(OL]DEHWK/&KHQH\

VWDWHGLQKHUYRWHLQIDYRURIWKH$UWLFOHRI,PSHDFKPHQWRQ-DQXDU\'HIHQGDQW7UXPS

³VXPPRQHGWKLVPREDVVHPEOHGWKHPREDQGOLWWKHIODPHRIWKLVDWWDFN(YHU\WKLQJWKDW

IROORZHGZDVKLVGRLQJ1RQHRIWKLVZRXOGKDYHKDSSHQHGZLWKRXWWKH3UHVLGHQW´

        7KHQ6HQDWH0DMRULW\/HDGHU6HQDWRU0LWFK0F&RQQHOOOLNHZLVHREVHUYHGLQ

UHPDUNVGHOLYHUHGRQWKH6HQDWHIORRURQ-DQXDU\WKHSLYRWDOUROHRI'HIHQGDQW7UXPS

LQLQFLWLQJWKHDWWDFNRQWKH&DSLWROVWDWLQJ³7KHPREZDVIHGOLHV7KH\ZHUHSURYRNHGE\WKH

3UHVLGHQWDQGRWKHUSRZHUIXOSHRSOHDQGWKH\WULHGWRXVHIHDUDQGYLROHQFHWRVWRSDVSHFLILF

SURFHHGLQJRIWKHILUVWEUDQFKRIWKHIHGHUDOJRYHUQPHQWZKLFKWKH\GLGQRWOLNH´

        $FWLQJLQFRQFHUWZLWK'HIHQGDQW3URXG%R\VDQGWKHUHVWRIWKHULRWRXVPRE

HQWHULQJWKH&DSLWROPHPEHUVRI'HIHQGDQW2DWK.HHSHUVZRUHSDUDPLOLWDU\HTXLSPHQW

KHOPHWVUHLQIRUFHGYHVWVDQGFORWKLQJZLWK2DWK.HHSHUVSDUDSKHUQDOLDPRYLQJLQDUHJLPHQWHG

PDQQHUDVPHPEHUVRIWKHPLOLWDU\DUHWUDLQHG3XUVXLQJDSXUSRVHVKDUHGE\'HIHQGDQWV7UXPS



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DQG*LXOLDQLDVZHOODV'HIHQGDQW3URXG%R\V'HIHQGDQW2DWK.HHSHUVSOD\HGDOHDGHUVKLSUROH

RIWKHULRWRXVFURZGDQGSURYLGHGPLOLWDU\VW\OHDVVLVWDQFHVXIILFLHQWWRRYHUFRPHWKH&DSLWRO

3ROLFHUHVLVWDQFH

         2DWK.HHSHUVOHDGHUVUHFUXLWHGPHPEHUVLQWKHZHHNVOHDGLQJXSWRWKH&DSLWRO

LQVXUUHFWLRQDQGSURYLGHGPLOLWDU\WUDLQLQJWRLWVUHFUXLWVDQGPHPEHUVVRWKDWWKH\ZRXOGEH

SUHSDUHGIRUWKHYLROHQWDFWLRQVWKHJURXSZRXOGWDNHWKDWGD\

         0HPEHUVRI'HIHQGDQW2DWK.HHSHUVZHUHHTXDOO\FOHDUWKDWWKHSXUSRVHRIWKHLU

XQODZIXOSUHVHQFHDWWKH&DSLWROZDVWRLQWHUIHUHZLWKWKHWDOO\RI(OHFWRUDO&ROOHJHYRWHV2QH

PHPEHURI'HIHQGDQW2DWK.HHSHUVIRUH[DPSOHSRVWHGDSKRWRJUDSKRIKHUVHOIDWWKH&DSLWRO

RQWKHVRFLDOPHGLDVLWH3DUOHUDORQJZLWKWKHVWDWHPHQW³0HEHIRUHIRUFLQJHQWU\LQWRWKH

&DSLWRO%XLOGLQJVWRSWKHVWHDOVWRUPWKHFDSLWRORDWKNHHSHUVRKLRPLOLWLD´$QRWKHUSRVWODWH

LQWKHGD\GHFODUHG³<HDK:HVWRUPHGWKH&DSLWROWRGD\7HDUJDVVHGWKHZKROH3XVKHG

RXUZD\LQWRWKH5RWXQGD0DGHLWLQWRWKH6HQDWHHYHQ7KHQHZVLVO\LQJ HYHQ)R[ DERXWWKH

+LVWRULFDO(YHQWVZHFUHDWHGWRGD\´

         /LNH'HIHQGDQW3URXG%R\VPHPEHUVRI'HIHQGDQW2DWK.HHSHUVFRPPXQLFDWHG

ZLWKSRUWDEOHGHYLFHVWKDWSHUPLWWHGWKHPWRFRRUGLQDWHWKHLUDFWLYLWLHVLQWKH&DSLWRO$PHVVDJH

ODWHUSRVWHGRQ)DFHERRNIRUH[DPSOHUHYHDOHG'HIHQGDQW2DWK.HHSHUVZDVWUDQVPLWWLQJ

LQWHOOLJHQFHDERXWWKHORFDWLRQRIPHPEHUVRI&RQJUHVVZKRPWKH\ZHUHKXQWLQJ,WVDLG³$OO

PHPEHUVDUHLQWKHWXQQHOVXQGHUFDSLWDOVHDOWKHPLQ7XUQRQJDV´$QRWKHUPHVVDJH

WUDQVPLWWHGWR'HIHQGDQW2DWK.HHSHUVOHDGHU7KRPDV&DOGZHOOGXULQJWKHDWWDFNUHSRUWHG

³7RPDOOOHJLVODWRUVDUHGRZQLQWKH7XQQHOVIORRUVGRZQ´DQG³*RWKURXJKEDFNKRXVH

FKDPEHUGRRUVIDFLQJ1OHIWGRZQKDOOZD\GRZQVWHSV´6WLOODQRWKHUPHVVDJHDPRQJPHPEHUV

RI'HIHQGDQW2DWK.HHSHUVUHYHDOHGWKHRUJDQL]HGPDQQHULQZKLFKWKH\SXUVXHGWKHLUPLVVLRQ



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:HKDYHDJRRGJURXS:HKDYHDERXWRIXV:HDUHVWLFNLQJWRJHWKHUDQGVWLFNLQJWR

WKHSODQ´

        5HIOHFWLQJRQWKHLUVXFFHVVLQLQWHUIHULQJZLWKWKHWDOO\RIWKH(OHFWRUDO&ROOHJH

YRWHV'HIHQGDQW2DWK.HHSHUVOHDGHU7KRPDV&DOGZHOOSRVWHGDPHVVDJHRQ)DFHERRNDWQHDUO\

30RQWKHVDPHGD\ZLWKDYLGHRRIKLPVHOILQVLGHWKH&DSLWRODQGWKHPHVVDJH³8V

VWRUPLQJWKHFDVWOH3OHDVHVKDUH6KDURQZDVZLWKPH,DPVXFKDQLQVWLJDWRU6KHZDVUHDG\

IRULWPDQ'LGQ¶WHYHQPLQGWKHWHDUJDV´

        *ORDWLQJRYHUWKHLUSHUFHLYHGVXFFHVV&DOGZHOOWKHQVHQWDQRWKHUPHVVDJH

UHSRUWLQJ³3URXGER\VVFXIIOHGZLWKFRSVDQGGURYHWKHPLQVLGHWRKLGH%UHDFKHGWKHGRRUV

2QHJX\PDGHLWDOOWKHZD\WRWKHKRXVHIORRUDQRWKHUWR3HORVL¶VRIILFH$JRRGWLPH´

        9LHZLQJWKHLUVXFFHVVLQGLVUXSWLQJWKH&RQJUHVVDVDPRGHOIRUVLPLODUDFWLRQVLQ

WKHIXWXUH&DOGZHOOVHQWDQRWKHUPHVVDJHVWDWLQJ³:HQHHGWRGRWKLVDWWKHORFDOOHYHO/HW¶V

VWRUPWKHFDSLWROLQ2KLR7HOOPHZKHQ´

        0HPEHUVRIWKHULRWRXVFURZGSURPLQHQWO\GLVSOD\HGD&RQIHGHUDWHIODJZLWKLQ

WKHZDOOVRIWKH&DSLWRO:LGHO\YLHZHGDVDV\PERORIWKHVXEMXJDWLRQRI$IULFDQ$PHULFDQVDV

VODYHVE\WKHGRPLQDQWZKLWHVODYHKROGHUVDVZHOODVDSRZHUIXOUHPLQGHURIWKHLQVXUUHFWLRQ

FDXVHGE\WKHVHFHVVLRQRIWKHVRXWKHUQVWDWHVEHIRUHWKH&LYLO:DUPHPEHUVRIWKHULRWRXV

FURZGFDUULHGWKH&RQIHGHUDWH)ODJDVDEDQQHUUHIOHFWLQJPXFKRIWKHVHQWLPHQWPRWLYDWLQJ

PDQ\ZKRLQYDGHGWKH&DSLWRO

        2XWVLGHWKH&DSLWROULRWHUVDWWDFNHG&DSLWRO3ROLFHRIILFHUV\HOOLQJ³WUDLWRUV´DW

WKRVHODZHQIRUFHPHQWRIILFHUVZKRZHUHWU\LQJWRSURWHFWWKH&DSLWRODQGWKHPHPEHUVRIWKH

+RXVHRI5HSUHVHQWDWLYHVDQG6HQDWH




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        5LRWHUVVSUD\HGODZHQIRUFHPHQWRIILFHUVZLWKEHDUPDFHDFRQFHQWUDWHGSHSSHU

VSUD\GHVLJQHGWRGHWHUEHDUDWWDFNVZKLFKLVXQVDIHIRUXVHRQKXPDQV

        &DSLWRO3ROLFHRIILFHUVZHUHGUDJJHGDQGNLFNHG

        $WOHDVWRQHRIILFHUZDVEHDWHQZLWKWKHSROHDWWDFKHGWRDQ$PHULFDQIODJ

        :KLOHWKHULRWLQJFURZGZDVIRUFLEO\HQWHULQJWKH&DSLWROURDPLQJLWVKDOOVDQG

GHVHFUDWLQJLWVRIILFHVWKDWVDPHGD\'HIHQGDQW*LXOLDQLMRLQHGWKHRWKHU'HIHQGDQWVLQVHHNLQJ

WRGHOD\DQGGHUDLOWKHWDOO\RIWKH(OHFWRUDO&ROOHJHEDOORWVE\FDOOLQJPHPEHUVRI&RQJUHVV

XUJLQJWKHPWRGRHYHU\WKLQJWKH\FRXOGWR³VORZLWGRZQ´DQG³GHOD\´WKH(OHFWRUDO&ROOHJH

YRWHFRXQWLQ&RQJUHVVLQRUGHUWRVHUYH'HIHQGDQW7UXPS¶VJRDORIUHWXUQLQJWKHHOHFWLRQWRWKH

VWDWHVZKHUHDGLIIHUHQWRXWFRPHFRXOGEHDUUDQJHG,QWKHVHSKRQHFDOOFRPPXQLFDWLRQVZLWK

VHOHFWHGPHPEHUVRI&RQJUHVVZKLOHWKHLQVXUUHFWLRQZDVRQJRLQJRQ-DQXDU\'HIHQGDQW

*LXOLDQLXUJHG³$QG,NQRZWKH\¶UHUHFRQYHQLQJDWHLJKWWRQLJKWEXWWKHRQO\VWUDWHJ\ZHFDQ

IROORZLVWRREMHFWWRQXPHURXVVWDWHVDQGUDLVHLVVXHVVRWKDWZHJHWRXUVHOYHVLQWRWRPRUURZ

LGHDOO\XQWLOWKHHQGRIWRPRUURZ´

        ,QWKHVHSKRQHFDOOVZLWKVHOHFWHGPHPEHUVRI&RQJUHVV'HIHQGDQW*LXOLDQL

LQWURGXFHGKLPVHOIDVWKH³3UHVLGHQW¶VODZ\HU´LQYRNLQJWKHDXWKRULW\RIDQGFRQYH\LQJKLV

DJUHHPHQWZLWKWKHSODQVRI'HIHQGDQW7UXPS'HIHQGDQW*LXOLDQLZDV'HIHQGDQW7UXPS¶V

SHUVRQDODWWRUQH\DQGFRXQVHORIUHFRUGIRU'HIHQGDQW7UXPSLQPXOWLSOHODZVXLWVIROORZLQJWKH

1RYHPEHUHOHFWLRQDQGKDVDWDOOWLPHVUHSUHVHQWHG'HIHQGDQW7UXPSRQO\LQ'HIHQGDQW

7UXPS¶VSHUVRQDOFDSDFLW\

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E\WKHULRWLQJFURZGGLVSDWFKHGE\7UXPSDQG*LXOLDQLDQGWKHDFFRPSDQ\LQJYLROHQFHDWWKH

&DSLWROZHUHMXVWLILHGDQGWREHH[SHFWHGWZHHWLQJ³7KHVHDUHWKHWKLQJVDQGHYHQWVWKDWKDSSHQ



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ZKHQDVDFUHGODQGVOLGHHOHFWLRQYLFWRU\LVVRXQFHUHPRQLRXVO\ YLFLRXVO\VWULSSHGDZD\IURP

JUHDWSDWULRWVZKRKDYHEHHQEDGO\ XQIDLUO\WUHDWHGIRUVRORQJ*RKRPHZLWKORYH LQ

SHDFH5HPHPEHUWKLVGD\IRUHYHU´'HIHQGDQW7UXPSPDGHWKHVHVWDWHPHQWVQRWZLWKVWDQGLQJ

WKDWQRVWDWHRUFRXUWFUHGLWHGWKHFODLPVRIIUDXGWKDWKHDQGWKRVHDFWLQJRQKLVEHKDOIKDG

UDLVHG

            7KHILQDODQQRXQFHPHQWE\9LFH3UHVLGHQW0LNH3HQFHRIWKHFRXQWRIWKH

(OHFWRUDO&ROOHJHYRWHVZKLFKSURYLGHGWKHLPSULPDWXURI&RQJUHVVRQWKHUHVXOWVRIWKH

SUHVLGHQWLDOHOHFWLRQKHOGLQGLGQRWRFFXUXQWLO$0WKHQH[WPRUQLQJ-DQXDU\

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MXVWLILHGWKHLUSUHVHQFHDQGWKHLUDFWLRQVDVRFFXUULQJEHFDXVH'HIHQGDQWV7UXPSDQGRU*LXOLDQL

LQVWUXFWHGWKHPWRSURFHHGLQWKLVXQUXO\DQGGLVUXSWLYHPDQQHUDQGWKDWWKHVHLQGLYLGXDOVZHUH

IROORZLQJRUGHUVIURPWKHLUWKHQ3UHVLGHQWDQGKLVDWWRUQH\

            5DWKHUWKDQUHFRJQL]LQJWKH\KDGSDUWLFLSDWHGLQDYLROHQWLQVXUUHFWLRQDJDLQVWWKH

JRYHUQPHQWVRPHULRWHUVZHUHOHGWREHOLHYHWKDWWKH\ZHUHDXWKRUL]HGWRRYHUWDNHWKH&DSLWROWR

SUHYHQWWKHIUDXGXOHQWHOHFWLRQRIWKHQIRUPHU9LFH3UHVLGHQW-RVHSK%LGHQJLYHQWKHIDFWXDOO\

EDVHOHVVVWDWHPHQWVPDGHLQWKHGD\VDQGZHHNVEHIRUHE\'HIHQGDQWV7UXPSDQG*LXOLDQLDQG

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        6RPHRIWKRVHZKRIROORZHG'HIHQGDQW7UXPS¶VGLUHFWLRQVDQGVWRUPHGWKH

&DSLWROLQFOXGLQJOHDGHUVRIWKH3URXG%R\VKDYHVLQFHVWDWHGWKDWWKH\EHOLHYHGWKHLUDFWLRQV

ZHUHODZIXODVWKH\ZHUHDFWLQJDWWKHGLUHFWLRQRI'HIHQGDQW7UXPSZKRPWKH\EHOLHYHGWREH

WKHFRXQWU\¶VFKLHIODZHQIRUFHPHQWRIILFHU

        0DQ\IRUPHUPHPEHUVRI'HIHQGDQW7UXPS¶VDGPLQLVWUDWLRQLQFOXGLQJIRUPHU

:KLWH+RXVH&KLHIRI6WDII-RKQ.HOO\IRUPHU:KLWH+RXVH&KLHIRI6WDII0LFN0XOYDQH\

IRUPHU6HFUHWDU\RI'HIHQVH-LP0DWWLVIRUPHU$WWRUQH\*HQHUDO%LOO%DUUIRUPHU$PEDVVDGRU

WRWKH8QLWHG1DWLRQV-RKQ%ROWRQDQGIRUPHU1DWLRQDO6HFXULW\$GYLVRU+50F0DVWHUKDYH

VWDWHGWKDW'HIHQGDQW7UXPSZDVGLUHFWO\UHVSRQVLEOHIRUWKHLQVXUUHFWLRQ

9,,, $%LSDUWLVDQ*URXSRI2IILFLDOV5HFRJQL]H'HIHQGDQW7UXPS¶V&XOSDELOLW\IRUWKH
       -DQXDU\$VVDXOWRQWKH&DSLWRO

        2Q-DQXDU\DQ$UWLFOHRI,PSHDFKPHQWZDVSDVVHGE\DELSDUWLVDQ

PDMRULW\RIWKH+RXVHRI5HSUHVHQWDWLYHVFLWLQJ'HIHQGDQW7UXPSIRULQFLWLQJWKHYLROHQFH

SHUSHWUDWHGDWWKH&DSLWRO7KH$UWLFOHRI,PSHDFKPHQWSURYLGHVLQSDUW

               2Q-DQXDU\SXUVXDQWWRWKHWK$PHQGPHQWWRWKH
               &RQVWLWXWLRQRIWKH8QLWHG6WDWHVWKH9LFH3UHVLGHQWRIWKH8QLWHG
               6WDWHVWKH+RXVHRI5HSUHVHQWDWLYHVDQGWKH6HQDWHPHWDWWKH
               8QLWHG6WDWHV&DSLWROIRUD-RLQW6HVVLRQRI&RQJUHVVWRFRXQWWKH
               YRWHVRIWKH(OHFWRUDO&ROOHJH,QWKHPRQWKVSUHFHGLQJWKH-RLQW
               6HVVLRQ3UHVLGHQW7UXPSUHSHDWHGO\LVVXHGIDOVHVWDWHPHQWV
               DVVHUWLQJWKDWWKH3UHVLGHQWLDOHOHFWLRQUHVXOWVZHUHWKHSURGXFWRI
               ZLGHVSUHDGIUDXGDQGVKRXOGQRWEHDFFHSWHGE\WKH$PHULFDQ
               SHRSOHRUFHUWLILHGE\6WDWHRU)HGHUDORIILFLDOV6KRUWO\EHIRUHWKH
               -RLQW6HVVLRQFRPPHQFHG3UHVLGHQW7UXPSDGGUHVVHGDFURZGDW
               WKH(OOLSVHLQ:DVKLQJWRQ'&7KHUHKHUHLWHUDWHGIDOVHFODLPV
               WKDW³ZHZRQWKLVHOHFWLRQDQGZHZRQLWE\DODQGVOLGH´+HDOVR
               ZLOOIXOO\PDGHVWDWHPHQWVWKDWLQFRQWH[WHQFRXUDJHG²DQG
               IRUHVHHDEO\UHVXOWHGLQ²ODZOHVVDFWLRQDWWKH&DSLWROVXFKDV³LI
               \RXGRQ¶WILJKWOLNHKHOO\RX UHQRWJRLQJWRKDYHDFRXQWU\
               DQ\PRUH´7KXVLQFLWHGE\3UHVLGHQW7UXPSPHPEHUVRIWKH
               FURZGKHKDGDGGUHVVHGLQDQDWWHPSWWRDPRQJRWKHUREMHFWLYHV
               LQWHUIHUHZLWKWKH-RLQW6HVVLRQ VVROHPQFRQVWLWXWLRQDOGXW\WR
               FHUWLI\WKHUHVXOWVRIWKH3UHVLGHQWLDOHOHFWLRQXQODZIXOO\
               EUHDFKHGDQGYDQGDOL]HGWKH&DSLWROLQMXUHGDQGNLOOHGODZ
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               HQIRUFHPHQWSHUVRQQHOPHQDFHG0HPEHUVRI&RQJUHVVWKH9LFH
               3UHVLGHQWDQG&RQJUHVVLRQDOSHUVRQQHODQGHQJDJHGLQRWKHU
               YLROHQWGHDGO\GHVWUXFWLYHDQGVHGLWLRXVDFWV
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        $WWKHFRQFOXVLRQRI3UHVLGHQW7UXPS¶VLPSHDFKPHQWWULDOWKH6HQDWHYRWHGWR

DFTXLW'HIHQGDQW7UXPSILQGLQJ'HIHQGDQW7UXPSQRWJXLOW\RILQFLWLQJWKHGHDGO\ULRWDWWKH

&DSLWROE\DYRWHRIWR

        0LQXWHVDIWHUYRWLQJWRDFTXLW'HIHQGDQW7UXPSKRZHYHU6HQDWH0LQRULW\

/HDGHU0LWFK0F&RQQHOOJDYHDVSHHFKRQWKHIORRURIWKH6HQDWH6HQDWRU0F&RQQHOOEHJDQE\

DFNQRZOHGJLQJ'HIHQGDQW7UXPS¶VFXOSDELOLW\³7KHUHLVQRTXHVWLRQWKDW3UHVLGHQW7UXPSLV

SUDFWLFDOO\DQGPRUDOO\UHVSRQVLEOHIRUSURYRNLQJWKHHYHQWVRIWKDWGD\7KHSHRSOHZKR

VWRUPHGWKLVEXLOGLQJEHOLHYHGWKH\ZHUHDFWLQJRQWKHZLVKHVDQGLQVWUXFWLRQVRIWKHLUSUHVLGHQW

$QGWKHLUKDYLQJWKDWEHOLHIZDVDIRUHVHHDEOHFRQVHTXHQFHRIWKHJURZLQJFUHVFHQGRRIIDOVH

VWDWHPHQWVFRQVSLUDF\WKHRULHVDQGUHFNOHVVK\SHUEROHZKLFKWKHGHIHDWHG3UHVLGHQWNHSW

VKRXWLQJLQWRWKHODUJHVWPHJDSKRQHRQSODQHW(DUWK´+RZHYHUOLNHWKHRWKHU6HQDWRUVZKR

YRWHGWRDFTXLW'HIHQGDQW7UXPS6HQDWRU0F&RQQHOOGLGQRWEHOLHYHWKDWWKHLPSHDFKPHQW

SURFHVVZDVFRQVWLWXWLRQDO6HQDWRU0F&RQQHOOZHQWRQWRVWDWHWKDW³3UHVLGHQW7UXPSLVVWLOO

OLDEOHIRUHYHU\WKLQJKHGLGZKLOHKHZDVLQRIILFHDVDQRUGLQDU\FLWL]HQXQOHVVWKHVWDWXWHRI

OLPLWDWLRQVKDVUXQVWLOOOLDEOHIRUHYHU\WKLQJKHGLGZKLOHLQRIILFHGLGQ WJHWDZD\ZLWK

DQ\WKLQJ\HW±\HW:HKDYHDFULPLQDOMXVWLFHV\VWHPLQWKLVFRXQWU\:HKDYHFLYLOOLWLJDWLRQ

$QGIRUPHUSUHVLGHQWVDUHQRWLPPXQHIURPEHLQJKHOGDFFRXQWDEOHE\HLWKHURQH´




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&RIWKH+RXVHRI5HSUHVHQWDWLYHVSUHSDUHGWRGLVFKDUJHKLVGXWLHVWRVXSHUYLVHDQGHYHQWXDOO\

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        3ODLQWLII7KRPSVRQZDVSUHVHQWZKHQWKHSURFHHGLQJEHJDQDW30DV

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EUHDNLQWRWKH&KDPEHUUHIHUWR6SHDNHU3HORVLDVD³ELWFK´VD\LQJWKH\ZDQWHGWRJHWWKHLU

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        3ODLQWLII7KRPSVRQZLWQHVVHGVHFXULW\SHUVRQQHOGUDZWKHLUILUHDUPVWRSURWHFW

3ODLQWLII7KRPSVRQDQGRWKHUPHPEHUVRI&RQJUHVVZKRZHUHWKHUHWRSHUIRUPWKHLUOHJDOO\

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        7KURXJKWKHEORFNHGGRRUV3ODLQWLII7KRPSVRQKHDUGWKUHDWVRISK\VLFDOYLROHQFH

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        3ODLQWLII7KRPSVRQKHDUGDJXQVKRWWKHVRXUFHRIZKLFKDWWKHWLPHZDV

XQNQRZQWRKLPDOWKRXJKKHODWHUOHDUQHGWKDWLWKDGNLOOHGRQHRIWKHULRWHUVZKRKDGIRUFHGKHU

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RIWKHJDOOHU\$IWHUDQH[WHQGHGSHULRGRIWLPHKDGHODSVHGGXULQJZKLFK3ODLQWLII7KRPSVRQ

DQGKLVFROOHDJXHVZHUHXQDEOHWRPRYHRUOHDYHWKHJDOOHU\EHFDXVHWKHULRWHUVSRVHGD

FRQWLQXLQJWKUHDWWRWKHLUVDIHW\&DSLWROVHFXULW\OHG3ODLQWLII7KRPSVRQDQGWKHRWKHUODZPDNHUV

WKURXJKDWXQQHORXWRIWKH&DSLWROWRWKH/RQJZRUWK+RXVH2IILFH%XLOGLQJ ³/RQJZRUWK´ 

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7KRPSVRQXOWLPDWHO\PRYHGWRDGLIIHUHQWURRPLQ/RQJZRUWKDQGDWDERXW30ZDVPRYHG

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         $OOWKHVHHYHQWVWRRNSODFHGXULQJDZRUOGZLGH&29,'SDQGHPLF3ODLQWLII

7KRPSVRQZDV\HDUVROGDWWKHWLPHDQGWKHUHIRUHZLWKLQWKHDJHJURXSIRUZKLFKWKHYLUXV

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         6KRUWO\DIWHUWKHVLHJHRQWKH&DSLWROHQGHGDWOHDVWWZRRWKHUPHPEHUVRI

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DSSUR[LPDWHO\303ODLQWLII7KRPSVRQDQGRWKHUPHPEHUVZHUHEDUUHGIURPOHDYLQJWKH

&DSLWRO%XLOGLQJEHFDXVHWKHLUVDIHW\UHPDLQHGDWULVNIURPULRWLQJFURZGPHPEHUVZKRZHUH

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          'XULQJWKLVHQWLUHWLPH3ODLQWLII7KRPSVRQUHDVRQDEO\IHDUHGIRUKLVSK\VLFDO

VDIHW\:KLOHWUDSSHGLQWKHEXLOGLQJGXULQJWKHVLHJHE\WKHULRWHUVWKDW'HIHQGDQWVXQOHDVKHG

RQWKH&DSLWRO3ODLQWLII7KRPSVRQIHDUHGIRUKLVOLIHDQGZRUULHGWKDWKHPLJKWQHYHUVHHKLV

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(OHFWRUDO&RXQW$FWRI

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WRKHURIILFHLQWKH5D\EXUQ+RXVH2IILFH%XLOGLQJ ³5D\EXUQ´ ZKHUHVKHZDVWRFRQGXFWD

YLGHRFRQIHUHQFHFDOO$VVKHZDONHGVKHVDZWKHFURZGRI'HIHQGDQW7UXPS¶VVXSSRUWHUV

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          8SRQZDONLQJLQWRKHURIILFH5HS%DVVOHDUQHGWKDWWKH&DSLWROKDGEHHQ

EUHDFKHG+DGVKHZDONHGVORZHURUEHHQGHOD\HGHYHQE\DIHZPLQXWHVVKHZRXOGKDYHEHHQ

VXEMHFWWRDWWDFNZKHQWKHULRWHUVEUHDFKHGWKHEXLOGLQJ

          5HS%DVVZDVGLUHFWHGE\WKH&DSLWRO3ROLFHWRVKHOWHULQSODFHLQKHURIILFH

5HS%DVVSRVWHGDYLGHRRQVRFLDOPHGLDZKLOHLQKHURIILFH+HUFRQFHUQIRUKHUVDIHW\JUHZ

ZKHQDQRIILFHUGLUHFWHGKHUWRWDNHGRZQWKHSRVWDVWKHYLGHRUHYHDOHGKHUORFDWLRQDQGFRXOG

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WKDWKLVSHUVRQDOVDIHW\ZDVLQMHRSDUG\$QWLFLSDWLQJWKDWKHPLJKWQRWHPHUJHIURPWKH+RXVH

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UHTXLUHG5HS&RKHQWRZDONWKHOHQJWKRIWKH*DOOHU\QDYLJDWLQJQDUURZSDWKVEHWZHHQFORVHO\

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VDWLQKLVFKDLUZLWKWKHEDWLQKLVKDQGVRUO\LQJQH[WWRKLPIRUWZRWRWKUHHKRXUV

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WKDWKHKDGQRWVXIIHUHGEHIRUH+HEHFDPHMXPS\ZKHQHYHUKHKHDUGDORXGRUXQIDPLOLDUQRLVH

LQKLVKRPH+HDOVRKDGUHFXUULQJIHDUVWKDWKHZDVQRWDVVDIHDVKHKDGSUHYLRXVO\EHOLHYHG

UHQHZLQJKLVWKRXJKWVDERXWWKHFKRLFHRISODFHVZKHUHKHZRXOGEHEXULHG

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HVFRUWHGIURPWKH+RXVHIORRU:KLOHVKHKDGUHFHLYHGQRIRUPDOQRWLFHWKDWULRWHUVKDGHQWHUHG

WKH&DSLWROLQTXLULHVDERXWKHUVDIHW\IURPIDPLO\PHPEHUWH[WPHVVDJHVDQGUHSRUWVRQVRFLDO

PHGLDOHIWKHUIHHOLQJWKDWWKH&DSLWROZDVXQGHUDWWDFN1RQHWKHOHVVVKHH[SHFWHGWKHODZ

HQIRUFHPHQWRIILFHUVSUHVHQWZRXOGDEO\SURWHFWWKH&DSLWRODQGWKHPHPEHUVSUHVHQWZLWKLQLW

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RIILFHUVHVFRUWWKH6SHDNHURIWKH+RXVHDQGRWKHUOHDGHUVKLSRIIWKH+RXVHIORRU+HUIHDUV

LQFUHDVHGZKHQWKHGRRUVRIWKH+RXVH&KDPEHUZHUHVKXWDQGD&DSLWRO3ROLFHRIILFHULQVWUXFWHG

KHUDQGWKHRWKHUPHPEHUVSUHVHQWWRUHWULHYHWKHJDVPDVNVIURPXQGHUWKHLUFKDLUV6KHJUHZ

PRUHDODUPHGWKDWKHUVDIHW\PLJKWEHMHRSDUGL]HGZKHQVKHEHJDQKHDULQJVKRXWVDQGEDQJLQJ

IURPSHRSOHRXWVLGHWKH+RXVH*DOOHU\+HUKHDUWEHJDQUDFLQJDVVKHUHDOL]HGVKHPLJKWEH

WUDSSHGLQWKH+RXVH*DOOHU\XQDEOHWRSURWHFWKHUVHOIIURPZKDWVRXQGHGOLNHDQDQJU\PRE

+HUIHDUVZHUHKHLJKWHQHGHYHQIXUWKHUZKHQWKH&DSLWRO3ROLFHLQIRUPHGKHUWKDWWHDUJDVKDG

EHHQUHOHDVHGLQ6WDWXDU\+DOODQGVKHUHDOL]HGVKHGLGQRWNQRZKRZWRSURSHUO\ZHDUWKHJDV

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UHTXLUHGKHUWRZDONWRWKHRWKHUVLGHRIWKH*DOOHU\6KHKDGWRWUDYHUVHQDUURZSDWKVEHWZHHQ

WKHURZVRIVHDWVDQGFURXFKXQGHUDQXPEHURIUDLOLQJVWKDWVHSDUDWHWKHVHFWLRQVRIWKH*DOOHU\

:KHQVKHUHDFKHGWKHRWKHUVLGHRIWKH*DOOHU\VKHVDZWKDWGRRUVWRWKH+RXVH&KDPEHUKDG

EHHQEDUULFDGHGZLWKIXUQLWXUHDQGZDVVWDUWOHGE\WKHVRXQGVRIVKDWWHULQJJODVV6KHIHDUHG

ULRWHUVZRXOGUHDFKDQRWKHUGRRUWRWKH+RXVH&KDPEHUWKDWVKHVDZZDVQHLWKHUEDUULFDGHGQRU

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VKDUSQRLVHVDQGEDQJLQJSURPSWLQJKHURQVHYHUDORFFDVLRQVWRWDNHFRYHUEHKLQGWKHZDOOLQ

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WKHLUVDIHW\ZDVLQJUHDWMHRSDUG\ZKHQVKHVDZSROLFHRIILFHUVVWDQGLQJEHKLQGDGRRUEDUULFDGHG

ZLWKIXUQLWXUHZLWKWKHLUILUHDUPVGUDZQWRZDUGVWKHGRRU7KHJODVVLQWKHZLQGRZVZDVEURNHQ

DQGVKHFRXOGVHHIDFHVRIULRWHUVRQWKHRWKHUVLGHRIWKHRIILFHUV

        $IWHUKHDULQJWKHULRWHUVVKRXWLQJRXWVLGHWKH+RXVH&KDPEHUDQGEDQJLQJRQWKH

&KDPEHUGRRUVSXQFWXDWHGE\DORXGJXQVKRW5HS(VFREDUIHDUHGWKDWDQRIILFHUKDGEHHQVKRW

DQGWKDWWKHPREKDGHQWHUHGWKH6SHDNHU¶V/REE\ORFDWHGDGMDFHQWWRWKH+RXVH&KDPEHU

SXWWLQJKHUOLIHLQLPPLQHQWGDQJHU+RSLQJWKDWDQHDUE\&DSLWRO3ROLFHRIILFHUZKRZDV

JXDUGLQJDGRRUWRWKH+RXVH*DOOHU\ZRXOGEHKHUODVWOLQHRIGHIHQVHVKHSOHDGHGZLWKKLPQRW

WRDGPLWDQ\RQHZKRVHLGHQWLW\ZDVQRWFRQILUPHG

        :KHQ5HS(VFREDUZDVILQDOO\HYDFXDWHGIURPWKH*DOOHU\VKHVDZVHYHUDO

LQWUXGHUVZKRKDGEHHQDSSUHKHQGHGO\LQJIDFHGRZQRQWKHIORRU(YHQWXDOO\VKHUHDFKHGWKH

VXEEDVHPHQWRIWKH+RXVH&KDPEHUDQGIRXQGKHUZD\WRDODUJHURRPLQ/RQJZRUWKZKHUHVKH

DQGRWKHUPHPEHUVZHUHGLUHFWHGWRUHPDLQ$VWKHUHZDVLQVXIILFLHQWVSDFHLQWKHKHDULQJURRP

IRUPHPEHUVWRPDLQWDLQWKHVRFLDOGLVWDQFHSUHVFULEHGE\WKH&'&DQGPDQ\PHPEHUVZHUH

XQZLOOLQJWRZHDUPDVNVVKHEHFDPHZRUULHGWKDWVKHZDVEHLQJH[SRVHGWRDKHLJKWHQHGULVNRI

FRQWUDFWLQJ&29,'6KHZDLWHGLQWKHDQWHURRPZLWKVHYHUDORWKHUPHPEHUV$WWKH

GLUHFWLRQRIWKH&DSLWRO3ROLFHVKHVKHOWHUHGLQWKLVURRPIRUVHYHUDOKRXUVEHIRUHVKHZDVDEOHWR

UHWXUQWRKHURIILFHZKHUHVKHUHPDLQHGXQWLOVKHUHWXUQHGWRWKH+RXVH&KDPEHUZKHQWKH

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EHIRUHVOHHSLQJLQWKHZHHNVIROORZLQJ-DQXDU\6KHVXIIHUHGIURPYLROHQWQLJKWPDUHV

DQGKDVVLQFHWDONHGZLWKPHQWDOKHDOWKSURIHVVLRQDOVDVDGLUHFWUHVXOWRIWKHVHHYHQWV

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        6KRUWO\DIWHUWKHSURFHHGLQJVEHJDQVKHUHFHLYHGDQHPDLOQRWLILFDWLRQIURPWKH

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        6RRQWKHUHDIWHU5HS-D\DSDOVHQWDWH[WPHVVDJHVWDWLQJ³3ROLFHKDYHEHHQ

EUHDFKHG&KDRVLVJRLQJWREUHDNRXWDQGYLROHQFHWRR´%HOLHYLQJWKDWWKH&KDPEHURIWKH

+RXVHRI5HSUHVHQWDWLYHVZDVWKHPRVWVHFXUHSODFHVKHFRXOGEHDQGKDYLQJUHFHLYHGQR

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        $WDERXWWKLVWLPH5HS-D\DSDOVDZRQVRFLDOPHGLDWRZKLFKVKHKDGDFFHVVWKDW

ULRWHUVEUHDFKHGWKH&DSLWRODQGVKHEHJDQKHDULQJVKRXWVVFUHDPVDQGRWKHUORXGQRLVHVRXWVLGH

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        7KHQ5HS-D\DSDOVDZWKH&DSLWRO3ROLFHEDUULFDGLQJWKHGRRUVRIWKH+RXVH

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ZDONXQGHUPXOWLSOHUDLOLQJVWRWUDYHOWKURXJKWKHYDULRXVVHFWLRQVRIWKH*DOOHU\$VVKHZDV

UHFRYHULQJIURPVXUJHU\IRUWKHUHSODFHPHQWRIKHUNQHHWKDWUHTXLUHGKHUWRPRYHVORZO\DQG

XVHDFDQHWUDYHUVLQJWKH*DOOHU\ZDVYHU\GLIILFXOWDQGSDLQIXOHVSHFLDOO\ZKHQVKHKDGWR

FURXFKXQGHUWKHUDLOLQJV

        2QFHVKHUHDFKHGWKHRWKHUVLGHRIWKH*DOOHU\5HS-D\DSDODQGWKHPHPEHUV

ZKRZHUHLQWKH*DOOHU\ZLWKKHUZHUHLQVWUXFWHGWRJHWGRZQRQWKHIORRU7KLVZDVH[WUHPHO\

GLIILFXOWIRU5HS-D\DSDOEHFDXVHRIKHUUHFHQWVXUJHU\2QFH5HS-D\DSDOZDVRQWKHIORRUVKH

ORRNHGGRZQRQWKHPDLQIORRURIWKH&KDPEHUDQGVDZWKHGRRUVWRWKHPDLQIORRUKDGEHHQ

EDUULFDGHGDQGODZHQIRUFHPHQWZDVSRVLWLRQHGLQDVHPLFLUFOHDURXQGWKHGRRUVZLWKJXQV

GUDZQ6KHDOVRKHDUGULRWHUVEDQJLQJRQWKHGRRUVRIWKH*DOOHU\DQGVDZ&DSLWRO3ROLFH

RIILFHUVXVLQJWKHLUERGLHVWRKROGWKRVHGRRUVFORVHG+HUIHDUIRUKHUVDIHW\VSLNHGZKHQVKH

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OLPLWHGPRELOLW\SUHFOXGHGKHUIURPPRYLQJTXLFNO\DQGVKHIHDUHGZRXOGUHQGHULWLPSRVVLEOH

IRUKHUWRUDSLGO\HVFDSHDQ\SK\VLFDOWKUHDWVVKHFRQVLGHUHGDVDODVWUHVRUWXVLQJKHUFDQHDQG

JDVPDVNWRGHIHQGKHUVHOIIURPDWWDFNVE\ULRWHUVLQWKHHYHQWWKH\HQWHUHGWKH*DOOHU\$VVKH

KHDUGVRPHPHPEHUVDURXQGKHUEHJLQSUD\LQJ5HS-D\DSDOZDVVWUXFNE\WKHUHDOL]DWLRQWKDW

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ZKLFKUHTXLUHGKHUWRSDVVE\DJURXSRIULRWHUVSURQHRQWKHIORRUZKRVHFRQGXFWZDVVRYLROHQW

WKDWWKHODZHQIRUFHPHQWRIILFHUVKDGWRVHFXUHWKHPZLWKGUDZQILUHDUPV

        7KHH[LWIURPWKH*DOOHU\UHTXLUHG5HS-D\DSDOWRGHVFHQGVHYHUDOWLHUVRIVWDLUV

YHU\VORZO\OHDQLQJRQDQRWKHU0HPEHURI&RQJUHVVIRUVXSSRUW7KHSDLQLQKHUNQHHZDV

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ZHUHQRWUXQQLQJWKDWGD\5HS-D\DSDOOLPSHGWKURXJKWKHWXQQHOWR/RQJZRUWKZKHUHVKHKDG

LQLWLDOO\EHHQGLUHFWHGWRVKHOWHU2QKHUZD\WR/RQJZRUWKVKHJRWRQWKHHVFDODWRUVWR

5D\EXUQ$WWKDWSRLQWD&DSLWRO3ROLFHRIILFHULQVWUXFWHG5HS-D\DSDODQGWKHVPDOOJURXSRI

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        7KHURRPWRZKLFK5HS-D\DSDOZDVGLUHFWHGZDVGHQVHO\SRSXODWHGE\PDQ\

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FRQILQHGWRWKLVURRPWRHQVXUHKHUVDIHW\IURPWKHULRWHUVZKRLQYDGHGWKH&DSLWRO5HS-D\DSDO

ZDVFRPSHOOHGWRUHPDLQWKHUHIRUQHDUO\ILYHKRXUVGXULQJZKLFKVKHZDVLQHYLWDEO\H[SRVHGWR

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ZKRUHIXVHGWRZHDUSURWHFWLYHPDVNVVKHH[KLELWHGV\PSWRPVVXFKDVIHYHUFKLOOVH[WUHPH

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EUHDWKLQJKHUSUHH[LVWLQJFRQGLWLRQVRIDVWKPDDQGSUHGLDEHWHVTXDOLILHGKHUIRUWKH

0RQRFORQDO$QWLERG\7UHDWPHQWIRU&29,'1RWZLWKVWDQGLQJWKLVWUHDWPHQWVKHFRQWLQXHG

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HQGXUHGZHOODIWHUVKHUHWXUQHGIURPGLVFKDUJLQJKHUGXW\WRUDWLI\WKHUHVXOWVRIWKH(OHFWRUDO

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ZDONZD\V5HS-D\DSDOHQGXUHGVLJQLILFDQWSDLQDQGH[SHULHQFHGVHWEDFNVLQKHUNQHH

UHSODFHPHQWVXUJHU\UHFRYHU\

        )ROORZLQJWKHVHHYHQWV5HS-D\DSDO¶VSK\VLFDOWKHUDSLVWLQIRUPHGKHUWKDWQR

LQGLYLGXDOUHFRYHULQJIURPNQHHUHSODFHPHQWVXUJHU\ZRXOGEHDEOHWRHDVLO\JHWGRZQRQWKH

IORRURQO\ILYHZHHNVSRVWRSHUDWLRQ+HUUDQJHRIPRYHPHQWGHFUHDVHGIROORZLQJWKHVHHYHQWV

DQGKHUUHFRYHU\ZDVVORZHG+HUUHFRYHU\ZDVDOVRQHJDWLYHO\LPSDFWHGE\KHU&29,'

GLDJQRVLVDVVKHFRXOGQRWFRQWLQXHKHUSK\VLFDOWKHUDS\VFKHGXOHUHJXODUO\IRUVHYHUDOZHHNV

        ,QDGGLWLRQWRWKHSDLQDQGVXIIHULQJFDXVHG5HS-D\DSDOE\WKHHYHQWVDOOHJHG

DERYHVKHDOVRVXIIHUHGJUDYHIHDUIRUKHUSHUVRQDOVDIHW\ZKLOHVKHZDVFRQILQHGLQWKH+RXVH

&KDPEHU,QWKHGD\VIROORZLQJWKHHYHQWVRI-DQXDU\5HS-D\DSDOVSRNHZLWKPHQWDOKHDOWK

SURIHVVLRQDOVLQERWKJURXSDQGLQGLYLGXDOVHWWLQJVDERXWIHDUVIRUKHUVDIHW\WKDWVKHKDGQHYHU

HQFRXQWHUHGEHIRUH+HUQHHGIRUFRXQVHOLQJZDVDGLUHFWUHVXOWRIWKHDWWDFNRQWKH&DSLWRO

       I     7KH+RQRUDEOH+HQU\&³+DQN´-RKQVRQ-U

        :KHQWKHDWWDFNRQWKH&DSLWROEHJDQ5HS-RKQVRQZDVVHDWHGLQWKH*DOOHU\RI

WKH+RXVHRI5HSUHVHQWDWLYHVSUHSDUHGWRGLVFKDUJHKLVGXWLHVWRVXSHUYLVHDQGHYHQWXDOO\YRWH

RQDSSURYDORIWKHFRXQWRIWKH(OHFWRUDO&ROOHJHEDOORWV

        5HS-RKQVRQZDVSUHVHQWVKRUWO\DIWHUWKHSURFHHGLQJVEHJDQDW30DV

UHTXLUHGE\WKH(OHFWRUDO&RXQW$FWRI

        $IWHUWKHSURFHHGLQJVKDGEHHQXQGHUZD\IRUDOLWWOHZKLOH5HS-RKQVRQKHDUG

QRLVHVWKDWVRXQGHGOLNHDFRPPRWLRQEXPSLQJDQGVKXIIOLQJ6XFKQRLVHVZHUHQRWW\SLFDODW

WKH&DSLWROIRUVXFKDQHYHQWFDXVLQJKLPWREHJLQZRUU\LQJZKHWKHUWKHUHZDVWURXEOHQHDUE\



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        6KRUWO\WKHUHDIWHUWKH&DSLWRO3ROLFHLQVWUXFWHG5HS-RKQVRQDQGRWKHUPHPEHUV

WRUHWULHYHDQGSXWRQJDVPDVNVWKDWZHUHVWRUHGXQGHUWKHLUVHDWVLQWKH*DOOHU\6RPHWLPH

ODWHUKHDQGRWKHUPHPEHUVZHUHLQVWUXFWHGWRPDNHWKHLUZD\WRWKH*DOOHU\H[LWUHTXLULQJKLP

WRQDYLJDWHZLWKGLIILFXOW\QDUURZSDWKVEHWZHHQWKHURZVRIVHDWVDQGVXUPRXQWUDLOLQJVEHWZHHQ

*DOOHU\VHFWLRQV$VKHFRQWLQXHGWRKHDUEDQJLQJRQWKH+RXVH&KDPEHUGRRUVDQGLQFUHDVLQJO\

YLUXOHQWVKRXWLQJKHIHDUHGWKHVLWXDWLRQZDVVHULRXVDQGPLJKWHQGEDGO\IRUKLPDQGRWKHU

PHPEHUVQHDUE\

        +LVIHDUWKDWKHPLJKWEHXQDEOHWRHYDGHWKHJURZLQJHIIRUWVWRHQWHUWKH+RXVH

&KDPEHUE\ORXGDQGERLVWHURXVLQWUXGHUVZHUHKHLJKWHQHGHYHQIXUWKHUZKHQKHKHDUGD

JXQVKRWSURPSWLQJKLPWRGURSWRWKHIORRULQDFURXFKDVWKH&DSLWRO3ROLFHLQVWUXFWHG5HS

-RKQVRQDQGRWKHUPHPEHUVWROLHRQWKHIORRU

        $IWHUH[LWLQJWKH*DOOHU\KHZDVVXUSULVHGDQGWURXEOHGWRVHHLQWUXGHUVZKRZHUH

VHFXUHGE\ODZHQIRUFHPHQWRIILFHUVO\LQJIDFHGRZQRQWKHIORRUZKHUHWKH\ZHUHJXDUGHGE\

RIILFHUVZLWKGUDZQZHDSRQV

        (YHQWXDOO\5HS-RKQVRQZDVGLUHFWHGWRVKHOWHULQ/RQJZRUWKZKHUHKH

UHPDLQHGIRUVHYHUDOKRXUV,PPHGLDWHO\XSRQDUULYLQJDWWKH/RQJZRUWKURRPDQGWKURXJKRXW

KLVWLPHVKHOWHULQJWKHUHKHZDVIRUFHGWRVWDQGZLWKRWKHUPHPEHUVZKREHFDXVHRIWKHLU

QXPEHUFRXOGQRWEHVRFLDOO\GLVWDQWIURPHDFKRWKHUDVWKH&'&SUHVFULEHGWRPLQLPL]H

WUDQVPLVVLRQRIWKH&29,'YLUXV$QGPDQ\PHPEHUVGHFOLQHGWRZHDUPDVNVDVWKH&'&

SUHVFULEHG$V5HS-RKQVRQZDV\HDUVROGDWWKHWLPHKHIHDUHGGXULQJWKHWLPHKHVKHOWHUHG

LQ/RQJZRUWKWKDWKHZRXOGFRQWUDFWWKHYLUXVDQGMHRSDUGL]HKLVKHDOWKDIWHUKDYLQJIOHG

FRQGLWLRQVWKDWMHRSDUGL]HGKLVVDIHW\




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         $IWHUKHVKHOWHUHGLQ/RQJZRUWKIRUVHYHUDOKRXUVKHUHWXUQHGWRWKH&DSLWRO

ZKHUHKHFRPSOHWHGKLVUHVSRQVLELOLW\WRRYHUVHHDQGDSSURYHWKHUHVXOWVRIWKH(OHFWRUDO&ROOHJH

EDOORWLQJ

        J    7KH+RQRUDEOH0DUF\.DSWXU

         :KHQWKHDWWDFNRQWKH&DSLWROEHJDQ5HS.DSWXUZDVVHDWHGLQWKH*DOOHU\RI

WKH+RXVHRI5HSUHVHQWDWLYHVSUHSDUHGWRGLVFKDUJHKHUFRQVWLWXWLRQDOGXWLHVRIWDOO\LQJWKH

EDOORWVRIWKH(OHFWRUDO&ROOHJHDQGFHUWLI\LQJWKHUHVXOWVRIWKHSUHVLGHQWLDOHOHFWLRQ

         5HS.DSWXUZDVSUHVHQWZKHQWKHSURFHHGLQJVEHJDQDW30DVUHTXLUHGE\

WKH(OHFWRUDO&RXQW$FWRI

         6RPHWLPHDIWHUWKHSURFHHGLQJVZHUHXQGHUZD\5HS.DSWXUZLWQHVVHGODZ

HQIRUFHPHQWRIILFHUVHVFRUWWKH9LFH3UHVLGHQWDQGWKH6SHDNHURIWKH+RXVHRIIWKH+RXVHIORRU

$QRWKHU0HPEHURIWKH+RXVHOHDGHUVKLSDWWHPSWHGWRSUHVLGHRYHUWKHGHEDWHEXWWKH

SURFHHGLQJVZHUHWRWDOO\LQWHUUXSWHGE\ORXGDQGXQUXO\VKRXWLQJDQGEDQJLQJKHDUGQHDUE\

5HS.DSWXUDOVRKHDUGHFKRLQJVRXQGVLQWKHVWDLUZHOORIWKH&DSLWRO7KHQD&DSLWRO3ROLFH

RIILFHUUDQLQWRWKH+RXVH&KDPEHUDQQRXQFLQJWKDWWKHSROLFHZHUHWU\LQJWRJDLQFRQWURORI

VRPHFRUULGRUVWKDWKDGEHHQEUHDFKHGE\ULRWHUVSURPSWLQJVRPHFRQFHUQWKDWKHUVDIHW\DQG

WKDWRIRWKHUPHPEHUVPLJKWEHLQMHRSDUG\7KHUHDIWHUWKH+RXVHZDVFDOOHGLQWRUHFHVVDQG

VKHDQGRWKHUPHPEHUVZHUHLQVWUXFWHGWRUHPDLQVHDWHG

         :KLOHVKHZDVVHDWHGLQWKH*DOOHU\5HS.DSWXUJUHZLQFUHDVLQJO\ZRUULHGDERXW

WKHVDIHW\RIWKHPHPEHUVDQGVWDIIDVVKHKHDUGORXGQRLVHVDQGEDQJVLQWKHKDOOZD\VRXWVLGH

WKH+RXVH&KDPEHUWKDWVRXQGHGOLNHORJVEHLQJSRXQGHGDJDLQVWWKHGRRUV6KHJUHZ

LQFUHDVLQJO\HDJHUWRH[LWWKH*DOOHU\DVVKHIHDUHGWKDWKRVWLOHLQWUXGHUVPLJKWHQWHUWKH+RXVH

&KDPEHUDQGSXWKHUVDIHW\DWULVN



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         5HS.DSWXU¶VZRUULHVWKDWWKUHDWVWRKHUVDIHW\ZHUHQHDUE\ZHUHKHLJKWHQHG

ZKHQD&DSLWRO3ROLFHRIILFHUDQQRXQFHGWKDWWHDUJDVKDGEHHQODXQFKHGLQWKH5RWXQGDDQG

XUJHGWKHPWRSXWRQJDVPDVNVVWRUHGXQGHUWKHLUVHDWV5HS.DSWXUKDGQRWEHHQWUDLQHGRQ

KRZWRUHPRYHWKHJDVPDVNIURPLWVFDVHDQGPHWDOOLFVKULQNZUDSSLQJRUKRZWRXVHWKHJDV

PDVN6KHIDFHGDGLOHPPDWKDWZRUULHGKHUDVVKHIHDUHGZHDULQJDJDVPDVNZRXOGIRJXSKHU

JODVVHVPDNLQJLWGLIILFXOWWRVHHFOHDUO\DQGXOWLPDWHO\WRH[LW

         +HUFRQFHUQIRUKHUVDIHW\JUHZDVEDQJLQJRQWKH*DOOHU\GRRUVEHFDPHORXGHU

DQGPRUHIUHTXHQWDQGVKHVDZDQRIILFHUSXVKLQJEDFNRQDKHDY\GRRU

         5HS.DSWXUEHLQJRQHRIDERXWDGR]HQPHPEHUVIHHOLQJVWUDQGHGLQWKH*DOOHU\

IRUVRPHWLPHZDVHYHQWXDOO\LQVWUXFWHGWRH[LWWKHDUHDE\FURVVLQJWRWKHRSSRVLWHVLGHRIWKH

*DOOHU\+HUH[LWZDVGHOD\HGDQGPDGHPRUHGLIILFXOWE\WKHQHHGWRSDVVWKURXJKPDQ\VHWVRI

ORZULVHUDLOLQJVE\HLWKHUFOLPELQJRYHUWKHUDLOLQJVRUFURXFKLQJXQGHUWKHP6HYHUDOPHPEHUV

DKHDGRIKHUVWUXJJOHGWRFURXFKEHORZWKHVHUDLOLQJV%XWZKHQVKHUHDFKHGWKHRWKHUHQGRIWKH

*DOOHU\5HS.DSWXUZDVGLUHFWHGE\WKH&DSLWRO3ROLFHWRFURXFKGRZQDQGKLGHEHKLQGWKH

VKRUWEDOFRQ\ZDOODQGZDLWTXLHWO\$VWKHLQWUXGHUVFRQWLQXHGWRVWRUPWKHKDOOZD\VDQGEDQJ

RQWKH*DOOHU\GRRUVVKHZDVLQIRUPHGWKHUHZDVVWLOOQRVDIHH[LW7KHUHZDVQRPHDQVWR

DVVXUHZKRPLJKWEHRQWKHRWKHUVLGHRIWKH*DOOHU\¶VH[LW

         :KLOH5HS.DSWXUKLGRQWKHIORRURIWKH*DOOHU\KHUIHDUIRUKHUVDIHW\DQGWKDW

RIKHUFROOHDJXHVZDVFRQILUPHGZKHQDQRIILFHUGLUHFWHGDSKRWRJUDSKHUWRFHDVHKLVHIIRUWVWR

SKRWRJUDSKWKHVXUURXQGLQJVDVWKHIODVKRIWKHFDPHUDPLJKWUHYHDOWKHLUORFDWLRQWRWKHULRWHUV

LPPHGLDWHO\RXWVLGHWKH+RXVH&KDPEHU5HS.DSWXUUHPDLQHGRQWKH*DOOHU\IORRUIRUFORVHWR

KDOIDQKRXUEHIRUHVKHZDVILQDOO\DOORZHGWRH[LW+HUODVWYLHZRIWKH+RXVHIORRUZDVRI




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VHYHUDOODZHQIRUFHPHQWRIILFHUVVWDQGLQJZLWKWKHLUILUHDUPVGUDZQWRZDUGVWKHGRRUVWRWKH

+RXVH&KDPEHU

         $IWHUVKHH[LWHGWKH*DOOHU\5HS.DSWXUWUDYHOHGDORQJGLVWDQFHWKURXJK

KDOOZD\VDQGVWDLUZHOOVGRZQWRWKHVXEEDVHPHQWZKHUHVKHILQDOO\DUULYHGDWDYHU\FURZGHG

URRPZKHUHRWKHUPHPEHUVDQGWKHLUVWDIIVVKHOWHUHG$IWHUOHDYLQJWKUHDWVWRKHUSK\VLFDO

VDIHW\5HS.DSWXUJUHZFRQFHUQHGIRUKHUKHDOWKDVVKHZDVGLUHFWHGWRVKHOWHULQDURRPLQ

ZKLFKPHPEHUVFRXOGQRWUHPDLQVRFLDOO\GLVWDQWDQGPDQ\UHIXVHGWRZHDUPDVNVDVWKH&'&

SUHVFULEHGDVWKHPHDQVWRPLQLPL]HWKHULVNRIFRQWUDFWLQJ&29,'5HS.DSWXUZDV

\HDUVROGDWWKHWLPHDQGWKHUHIRUHZLWKLQWKHDJHJURXSIRUZKLFKWKHYLUXVSRVHGWKHJUHDWHVW

ULVNWRKHUKHDOWK

         5HS.DSWXUZDVUHTXLUHGWRUHPDLQLQWKLVURRPIRUVHYHUDOKRXUVXQWLOVKHZDV

LQIRUPHGWKDWLWZDVVDIHWRUHWXUQWRKHURIILFH6KHUHWXUQHGWRKHURIILFHDQGMRLQHGKHUVWDIIDW

DSSUR[LPDWHO\30DWZKLFKSRLQWVKHOHIWWKH&DSLWROFRPSOH[DQGUHWXUQHGKRPH

        K     7KH+RQRUDEOH%DUEDUD/HH

         :KHQWKHDWWDFNRQWKH&DSLWROEHJDQ5HS/HHZDVVHDWHGLQWKH+RXVHRI

5HSUHVHQWDWLYHVSUHSDUHGWRGLVFKDUJHKHUFRQVWLWXWLRQDOGXWLHVRIWDOO\LQJWKHEDOORWVRIWKH

(OHFWRUDO&ROOHJHDQGFHUWLI\LQJWKHUHVXOWVRIWKHSUHVLGHQWLDOHOHFWLRQ

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         6KRUWO\DIWHUWKHSURFHHGLQJVEHJDQ5HS/HHVDZUHSRUWVWKDW&DQQRQZDVEHLQJ

HYDFXDWHG:KHQWKH6SHDNHURIWKH+RXVHDQGRWKHUPHPEHUVRIWKH+RXVHOHDGHUVKLSZHUH

HVFRUWHGIURPWKH&KDPEHU5HS/HHFRQFOXGHGWKDWWDNHQWRJHWKHUWKHVHWZRHYHQWVUHIOHFWHG

VRPHNLQGRIWKUHDWZDVQHDUE\



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        5HS/HHEHJDQWRKDUERUFRQFHUQVDERXWKHUVDIHW\ZKHQ&DSLWRO3ROLFHRIILFHUV

ORFNHGWKHGRRUVWRWKH+RXVH&KDPEHUDQGWROGWKHPHPEHUVZKRUHPDLQHGWRVKHOWHULQSODFH

        6KRUWO\WKHUHDIWHU5HS/HH¶VIHDUIRUKHUVDIHW\JUHZZKHQVDZQHZVUHSRUWV

WUDQVPLWWHGWRKHUPRELOHWHOHSKRQHWKDWYLROHQWLQWUXGHUVKDGEUHDFKHGWKHRXWHUSHULPHWHURIWKH

&DSLWRODQGKDGHQWHUHG6WDWXDU\+DOO

        +HUIHDUVIRUKHUVDIHW\JUHZHYHQKLJKHUZKHQWKH&DSLWRO3ROLFHRIILFHUVZDUQHG

WKDWVKHPD\QHHGWRVKHOWHURQWKH+RXVHIORRUDQGKHDUGVRPHRQHVD\WKDWEXOOHWVPLJKWEH

FRPLQJLQ7KHLQVWUXFWLRQWKDWIROORZHGWKDWVKHSUHSDUHWRSXWRQDJDVPDVNIRUZKLFKVKH

ZDVQHYHUWUDLQHGWRXVHFRPSRXQGHGKHUIHDUVDVVKHH[SHFWHGWKDWWKHLQWUXGHUVZRXOGEH

XVLQJWHDUJDVRUDQRWKHUFKHPLFDOLUULWDQW$VWKLVFKDRVXQIROGHG&DSLWRO3ROLFHWROG5HS/HH

DQGRWKHUVRQWKH+RXVHIORRUWKDWWKH\QHHGHGWRHYDFXDWH5HS/HHDQGRWKHUVKXUULHGRIIWKH

+RXVHIORRUWKURXJKWKH6SHDNHU¶V/REE\DQGWKHQHVFDSHGGRZQWKUHHRUIRXUIOLJKWVRIVWDLUV

        $IWHUWUDYHOLQJWKURXJKWXQQHOVLQWKHVXEEDVHPHQWVKHDUULYHGLQ/RQJZRUWKDQG

ZDVEURXJKWWRDURRPZKHUHDODUJHQXPEHURIRWKHUPHPEHUVRI&RQJUHVVDQGVWDIIHUV

VKHOWHUHGLQSODFH$IWHUOHDYLQJWKUHDWVWRKHUSK\VLFDOVDIHW\5HS/HHUHDOL]HGWKHSODFHZKHUH

VKHZDVGLUHFWHGWRVKHOWHUZRXOGSRVHDWKUHDWWRKHUKHDOWKDVWKHUHZDVLQVXIILFLHQWURRPIRU

WKHPHPEHUVLQWKHURRPWRVRFLDOGLVWDQFHWKHPVHOYHVDVWKH&'&SUHVFULEHGDQGPDQ\UHIXVHG

WRZHDUPDVNVDVWKH&'&GLUHFWHGLQRUGHUWRPLQLPL]HWUDQVPLVVLRQRIWKH&29,'YLUXV

5HS/HHZDV\HDUVROGDWWKHWLPHDQGWKHUHIRUHZLWKLQWKHDJHJURXSIRUZKLFKWKHYLUXV

SRVHGWKHJUHDWHVWULVNWRKHUKHDOWK

        $WDERXW305HS/HHZDVSHUPLWWHGWROHDYHWKHURRPLQ/RQJZRUWKLQ

ZKLFKVKHKDGVKHOWHUHGIRUVHYHUDOKRXUV6KHUHWXUQHGGLUHFWO\WRWKH+RXVH&KDPEHUZKHUH




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VKHUHPDLQHGXQWLODSSUR[LPDWHO\$0RQ-DQXDU\ZKHQWKHYRWLQJFRQFOXGHGWKDW

UDWLILHGWKHUHVXOWVRIWKH(OHFWRUDO&ROOHJHEDOORWLQJ

            7KHHYHQWVRQ-DQXDU\GHVFULEHGDERYHOHIW5HS/HHIHHOLQJWKDWVKHKDG

QDUURZO\HVFDSHGVHULRXVLQMXU\RUGHDWKRQWKDWGDWHSURPSWLQJKHUWRILQDOL]HKHUSODQVIRUKHU

HVWDWH

           L    7KH+RQRUDEOH-HUUROG1DGOHU

            5HS1DGOHUZDVSUHVHQWZKHQWKHSURFHHGLQJVEHJDQDW30DVUHTXLUHGE\

WKH(OHFWRUDO&RXQW$FWRI

            6KRUWO\DIWHUDQREMHFWLRQZDVPDGHWRWKHFRXQWLQJRIWKHFHUWLILHG(OHFWRUDO

&ROOHJHEDOORWVIURP$UL]RQD5HS1DGOHUZHQWWRKLVRIILFHLQ5D\EXUQWRZDLWXQWLOWKHMRLQW

VHVVLRQRI&RQJUHVVZDVUHFRQYHQHG$IWHUDUULYLQJDWKLVRIILFH5HS1DGOHUOHDUQHGWKDWWKH

&DSLWROKDGEHHQEUHDFKHGE\ERLVWHURXVDQGWKUHDWHQLQJLQWUXGHUV

            +DYLQJVHHQWKDWYLROHQWLQWUXGHUVKDGHQWHUHGWKH&DSLWRODQGQHHGLQJWRUHPDLQ

QHDUE\WRSDUWLFLSDWHLQWKHYRWHVQHHGHGWRUDWLI\WKHUHVXOWVRIWKHSUHVLGHQWLDOHOHFWLRQ

5HS1DGOHUEHOLHYHGKHQHHGHGWRVKHOWHULQSODFHLQ5D\EXUQ

            %HOLHYLQJWKDWLIWKHLQWUXGHUVFRXOGHQWHUWKH&DSLWROWKH\FRXOGDOVRHQWHU

5D\EXUQKHEHJDQVHDUFKLQJIRUDSODFHLQZKLFKKHFRXOGVKHOWHULQSODFHVDIHO\$IWHU

FRQVLGHULQJSODFHVLQKLVSHUVRQDORIILFHWKDWPLJKWEHVDIHKHFRQFOXGHGWKHSODWHEHDULQJKLV

QDPHRQKLVRIILFHGRRUPDGHKLVRIILFHDWDUJHWRIKRVWLOHLQWUXGHUVLQWKHHYHQWWKH\HQWHUHGWKH

EXLOGLQJ7KHUHIRUH5HS1DGOHUVRXJKWUHIXJHLQWKHQHDUE\RIILFHVRIWKH+RXVH-XGLFLDU\

&RPPLWWHHZKHUHKLVQDPHGLGQRWDSSHDURQWKHH[WHULRU

            5HS1DGOHUVKHOWHUHGLQSODFHLQWKH-XGLFLDU\&RPPLWWHHRIILFHIRUKRXUV

DZDLWLQJFRQILUPDWLRQWKDWWKHULRWKDGEHHQTXHOOHG7KURXJKRXWWKLVWLPH5HS1DGOHU



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        $OWKRXJK5HS:DWHUVZDVODWHUDGYLVHGE\WKH&DSLWRO3ROLFHWKDWVKHFRXOGMRLQ

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REVHUYHDQGXOWLPDWHO\DSSURYHWKHFRXQWRIWKH(OHFWRUDO&ROOHJHEDOORWVDQGUDWLI\WKHUHVXOWVRI



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IHOWFRPSHOOHGWRLQFUHDVHWKHDPRXQWRIVHFXULW\SHUVRQQHOZLWKZKRPVKHWUDYHOVWRDQGIURP

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       N     7KH+RQRUDEOH%RQQLH:DWVRQ&ROHPDQ

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QHHG$VVKHZDONHGWRZDUGWKDWRIILFHVKHFRXOGVHHDQGKHDUWKHULRWHUVDVWKH\FDPHGRZQWKH

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PHQDFLQJQRLVHVIURPWKHLQVXUJHQWVLQWKHQH[WKDOOZD\:KLOHWUDSSHGLQWKHURRP5HS

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ZRXOGEHVWURQJHQRXJKWRNHHSWKHPRXWRIWKHURRP



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        $IWHUVHYHUDOKRXUVKDGWUDQVSLUHGGXULQJZKLFKVKHKHDUGWKHPHQDFLQJVRXQGV

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7KHODUJHQXPEHURIPHPEHUVFRQILQHGWRWKHVDPHURRPPDGHLWLPSRVVLEOHIRUKHUWRVRFLDOO\

GLVWDQFHKHUVHOIIURPRWKHUVDVWKH&'&KDGUHFRPPHQGHGDQGWKHPXOWLSOHPHPEHUVZKR

UHIXVHGWRZHDUPDVNVSRVHGDVLJQLILFDQWULVNRI&29,'WUDQVPLVVLRQWRKHU$V5HS

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EHLQJFRQILQHGLQWKLVURRPIRUVHYHUDOKRXUVVKHDUUDQJHGWRPRYHWRWKHRIILFHRIDQRWKHU

0HPEHURI&RQJUHVVZKHUHWKHUHZHUHIDUIHZHUSHRSOH6KHUHPDLQHGWKHUHXQWLOVKHZDV

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WUHDWPHQWKHUOLIHZRXOGKDYHEHHQLQMHRSDUG\1RWZLWKVWDQGLQJWKHSURPSWPHGLFDOWUHDWPHQW

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                                        &$86(2)$&7,21

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         3ODLQWLIIVLQFRUSRUDWHKHUHLQE\UHIHUHQFHWKHDOOHJDWLRQVFRQWDLQHGLQDOO

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PHDQVDQ\RIILFHURIWKH8QLWHG6WDWHVWROHDYHDQ\«SODFH>@ZKHUHKLVGXWLHVDVDQRIILFHUDUH

UHTXLUHGWREHSHUIRUPHGRU«WRPROHVWLQWHUUXSWKLQGHURULPSHGHKLPLQWKHGLVFKDUJHRIKLV

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FRQFHUWHGFDPSDLJQWRPLVLQIRUPWKHLUVXSSRUWHUVDQGWKHSXEOLFHQFRXUDJLQJDQGSURPRWLQJ

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KLVRUKHURIILFLDOGXWLHVDQGVXIIHUHGWKHGHSULYDWLRQRIWKHULJKWWREHIUHHIURPLQWLPLGDWLRQDQG

WKUHDWVLQWKHGLVFKDUJHRIKLVRUKHURIILFLDOGXWLHVDVH[SOLFLWO\SURWHFWHGXQGHU.X.OX[.ODQ

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         $VWKHXQODZIXODFWLRQVWDNHQE\WKH'HIHQGDQWVZHUHPDOLFLRXVDQGLQUHFNOHVV

GLVUHJDUGRIIHGHUDOO\SURWHFWHGULJKWVHDFKRIWKH3ODLQWLIIVQDPHGDERYHVHHNVDQDZDUGRI

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